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10                                        UNITED STATES DISTRICT COURT
11                                            DISTRICT OF OREGON
12
                                               PORTLAND DIVISION
13
14   MARTIN J. WALSH,                                ) Case No. 3:16-cv-2293-HZ
      Secretary of Labor,                            )
15    United States Department of Labor,             )
16                                                   ) Declaration of Norman E. Garcia
                             Plaintiff,              )
17                                                   )
                     v.                              )
18
                                                     )
19   SENVOY, LLC; DRIVER RESOURCES,                  )
     LLC; ZOAN MANAGEMENT, INC.; and                 )
20   GERALD E. BRAZIE, JR.,                          )
21                                                   )
                             Defendants.             )
22
23          I, Norman E. Garcia, make this declaration, under the penalty of perjury, in support of the

24   Secretary’s request to lift contempt stay for Defendant Senvoy given its non-liquidation status and

25   impending sale and request to immediately order all proceeds from its sale be given to the Secretary to

26   pay towards the consent judgment and contempt order.

27   1.     I possess personal knowledge of the matters set forth in this declaration and I am competent to

28          testify to the same, and if called to testify my testimony would be as stated in this declaration.
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 1   2.    I am employed as a Senior Trial Attorney in the Office of the Solicitor, Region IX, an Agency
 2         of the United States government. My business address is 90 Seventh St. Rm. 3-700, San
 3         Francisco, California 94103.
 4   3.    I am one of the Office of the Solicitor’s attorneys assigned to the Senvoy, LLC; Driver
 5         Resources, LLC; Zoan Management, Inc.; and Gerald E. Brazie, Jr.’s, also known as Jerry
 6         Brazie (“Defendant Brazie”), Fair Labor Standards Act (“FLSA”) case.
 7   4.    Paragraph 8 of this Court’s November 16, 2021, Contempt Order (“Contempt Order”) was
 8         included in the Contempt Order because Brazie admitted, during his October 14, 2021, Debtor’s
 9         Exam, that “all of the personal expenses of [his] wife and [him], be it medical, dental, groceries,
10         eating out, entertainment, vehicle related are paid by one of [his] companies, either Senvoy or
11         ZoAn.” Attached hereto at Exh. 1 is a true and correct copy of excerpts from Defendant
12         Brazie’s Debtor’s Exam. The cite of this quotation is 188:21-189:4.
13   5.    Defendant Brazie’s Debtor Exam testimony and the documents that Defendants produced
14         related to it showed that at the time the Secretary’s November 4, 2021, notice was filed, the
15         debts of Defendant Brazie and his companies exceeded their assets by millions of dollars.
16   6.    At the November 9, 2021, Contempt Hearing, Defendants, after consultation with their attorney,
17         committed to paying $100,000.00 to the Secretary within 30-days of this hearing. Because of
18         this commitment, this Court stated that it was not going to incarcerate Defendant Brazie. Also
19         at this hearing, this Court ordered Defendants to pay another $100,000.00 by December 31,
20         2021, and for Defendants to pay monthly payments of $15,000.00 starting in 2022.
21   7.    On November 15, 2021, the Secretary filed a revised contempt order that was jointly drafted by
22         Charles Paternoster for Defendants and myself for the Secretary.
23   8.    At the February 2, 2022, Contempt Hearing Defendant Senvoy’s counsel, Nick Henderson, told
24         this Court that Defendant Senvoy was being liquidated.
25   9.    On February 4, 2022, when providing a link to the documents that this Court ordered
26         Defendants to produce, Defendant Senvoy’s counsel for the very first time by any Defendant,
27         stated in an e-mail: “we’ve identified some transactions in which Senvoy paid expenses that
28

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 1         were for Mr. Brazie, personally.” Attached hereto at Exh. 2 is a true and correct copy of this
 2         February 4, 2022, e-mail from Nick Henderson.
 3   10.   An examination of the February 4, 2022, document production identified that Defendant
 4         Brazie’s companies (e.g., Defendants Senvoy and ZoAn) paid his bills from November 9, 2021,
 5         to January 26, 2022, and that these payments included, inter alia: payments for insurance of his
 6         personally owned cars, car loan payments, payments to five different credit cards for his and his
 7         family’s personal expenses, to a utility company in Tennessee, to pay back loans for Defendant
 8         Brazie’s life insurance policies. Moreover, Defendant ZoAn violated the Contempt Order’s
 9         paragraph 8 by making $79.000.00 in shareholder distributions from November 16, 2021, to
10         January 3, 2022, when Defendant Brazie’s bankruptcy filings showed he was its sole
11         shareholder. Furthermore, some of these payments were made over several months to the same
12         companies.
13   11.   On February 18, 2022, Senvoy’s counsel provided the first accounting by any Defendant for
14         some of the payments that Defendant Senvoy made for Defendant Brazie’s personal expenses.
15         These payments concerned car loan payments, credit card payments for four credit cards and
16         progressive insurance payments. Attached hereto at Exh. 3 is a true and correct copy of this
17         February 18, 2022, e-mail from Nick Henderson without exhibits.
18   12.   On February 18, 2022, I informed Senvoy’s counsel that his accounting was incomplete to
19         include, inter alia, not addressing payments that Senvoy made to Northwestern Mutual for
20         Defendant Brazie’s insurance payments. Garcia. Decl. at ¶ 12; Exh. 4 thereto. Attached hereto
21         at Exh. 4 is a true and correct copy of my February 18, 2022, e-mail to Nick Henderson.
22   13.   On February 26, 2022, Defendant Senvoy’s counsel provided evidence that Defendant Senvoy
23         reversed these Northwestern Mutual payments. Garcia. Decl. at ¶ 13; Exh. 5 thereto. Attached
24         hereto at Exh. 5 is a true and correct copy of this February 26, 2022, e-mail from Nick
25         Henderson.
26   14.   On February 28, 2022, I notified the counsels of Defendants Senvoy and Brazie that their
27         accounting is still incomplete because, inter alia, there are other payments that were made to
28

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 1         Northwestern Mutual for Defendant Brazie and they had not addressed any payments that
 2         Defendant ZoAn made on his behalf. Garcia. Decl. at ¶ 14; Exh. 6 thereto. Attached hereto at
 3         Exh. 6 is a true and correct copy of my February 28, 2022, e-mail to Nick Henderson and Doug
 4         Ricks.
 5   15.   On February 25, 2022, in Part 2 of the Statement of Financial Affairs (“SoFA”) that Defendant
 6         Brazie filed in the bankruptcy court (Case no. 22-30180-dwh, Dkt. 27) Defendant Brazie
 7         reported that he paid Senvoy $31,600.31 after the bankruptcy petition was filed. At Defendant
 8         Brazie’s 341 creditor’s meeting held on March 9, 2022, he reported that this amount was to
 9         reimburse Defendant Senvoy for paying his personal bills prior to his bankruptcy filing.
10   16.   On March 4, 2022, Defendant Brazie’s counsel responded to this February 28th, e-mail. This
11         counsel identified that ZoAn made a utility payment for Defendant Brazie, but made no mention
12         of any reimbursement for it. He also identified that there was another payment that Defendant
13         Senvoy made for Defendant Brazie’s insurance for over $1,900.00 that had not been previously
14         accounted for and that Defendant Senvoy made payments to Northwestern Mutual to repay
15         loans without stating the amounts of these loan payments nor who owned the insurance policies
16         that they were made on. He further admitted that ZoAn made $79,000.00 in shareholder
17         distributions. Lastly, he stated that he “asked Ms. Wiggins [Defendants’ Bookkeeper] to
18         undertake such a review of the financials and have discussed her findings from that review in
19         detail.” Attached hereto at Exh. 7 is a true and correct copy of this March 4, 2022, e-mail from
20         Doug Ricks.
21   17.   On March 7, 2022, I responded to this March 4th e-mail and identified many problems with it.
22         Despite the alleged detailed review by Defendant’s bookkeeper, Ms. Wiggins, I identified that
23         there were still payments that Defendant Brazie’s companies made for him that have not been
24         accounted for. I further identified that even though Defendant Brazie listed “Cabela’s” as a
25         creditor in his bankruptcy schedules, Defendant Senvoy, on four separate occasions, paid
26         Cabela’s a total of $6,500.00 from November 9, 2022, through and including December 19,
27
28

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 1         2021. Attached hereto at Exh. 8 is a true and correct copy of my March 7, 2022, e-mail to Doug
 2         Ricks.
 3   18.   The documents that Defendant Senvoy’s counsel produced on February 4, 2022, showed that
 4         Defendant Brazie and his wife made charges on this Cabela’s credit card for: many different
 5         restaurants and eating establishments in Tennessee and Las Vegas, NV; many shops in Las
 6         Vegas, NV; medical such as Kaiser and 1-800 contacts; Uber for Mrs. Brazie who does not
 7         work for Defendants, Nashville Zoo; different movie theaters in Tennessee or shows in Las
 8         Vegas such as Excalibur; many stores in Tennessee including Target, Walmart, Krogers, AT
 9         Homestore, Mid-South Mowing, Publix, XL Destination, Nike POS, WM Superstore, Aide and
10         Oak, Amy’s Hallmark; gas stations in Tennessee; lodging in Kentucky; stores exclusively for
11         Mrs. Brazie like Hand and Stone Message, Loma Beauty, Dime Beauty, L’ange Hair, Salon
12         Social, Southern Boutiques, Sun Tan City, Bath and Body works; MJS Pool Hall; You Tube
13         Premium; Google for Fox News; Amazon web services. Attached hereto at Exh. 9 are true and
14         correct copies of the three Cabala’s credit card statements for Defendant Brazie that Defendant
15         Senvoy produced on February 4, 2022, to the Secretary for the months of November 2021 to
16         January 2022.
17   19.   I further identified in my March 7, 2022, e-mail to Defendant Brazie’s counsel that the only
18         loans that Defendant Brazie identified during his Debtor’s exam that were taken from
19         Northwestern Mutual Life Insurance policies were Defendant Brazie’s life insurance policies
20         and therefore it was a violation of the Contempt Order for Defendant Senvoy to pay back
21         Defendant Brazie’s loans.
22   20.   I still further identified in my March 7, 2022, e-mail to Defendant Brazie’s counsel that it was a
23         violation of the Contempt Order for ZoAn to make shareholder distributions to Defendant
24         Brazie because it was prohibited from doing so under paragraph 8 of the Contempt Order.
25   21.   Defendant Brazie’s bankruptcy findings identified that he was the sole/100% shareholder for
26         ZoAn.
27
28

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 1   22.   Defendant Brazie checked “no” to the following question in his SoFA filed on February 25,
 2         2022: “Within 1 year before you filed for bankruptcy, did you make any payments or transfer
 3         any property on account of a debt that benefited an insider?” even though this statement defined
 4         an insider as “partnerships of which you are a general partner; corporations of which you are an
 5         officer, director, person in control, or owner of 20% or more of their voting securities; and any
 6         managing agent, including one for a business you operate as a sole proprietor.” Attached hereto
 7         at Exh. 10 is a true and correct copy of Dkt. 27, Statement of Financial Affairs evidencing this
 8         question and response.
 9   23.   On March 9, 2022, Defendant Brazie’s 341 Creditor’s Meeting was held. At this Creditor’s
10         meeting, Defendant Brazie identified, inter alia: (1) Defendant Senvoy was not being liquidated
11         and it was continuing to operate; (2) he changed his mind about liquidating Senvoy after the
12         February 2, 2022, Contempt Hearing; and (3) he had a letter of intent to buy Senvoy for
13         $300,000.00. Also at this creditor’s meeting, Defendant Brazie’s counsel, inter alia, stated (1)
14         he could not identify any attorney who was representing ZoAn to seek Defendant Brazie’s
15         repayment because Defendant ZoAn had ceased operations at the end of 2021, and (2) he
16         admitted that ZoAn made shareholder distributions to Defendant Brazie.
17   24.   On March 10, 2022, I sent Defendant Brazie’s counsel an e-mail that questioned his
18         representation that Defendant ZoAn ceased operating in 2021 given that its “Jan. 2022 GL
19         shows that it was still operating in at least Jan 2022 wherein it paid out over $30K in payroll
20         expenses, paid dental insurance, paid $9K in shareholder distributions, etc. How could it be
21         doing these activities, especially employee payroll, if it ceased operations in 2021?” While
22         Defendant Brazie’s counsel recognized that this $9,000.00 shareholder distribution was made,
23         he has not addressed how these actions could have taken place in January 2022 if ZoAn had, in
24         fact, ceased operations at the end of 2021. Attached hereto at Exh. 11 is a true and correct copy
25         of my March 10, 2022, e-mail to Doug Ricks.
26   25.   To date, while Senvoy has continued operations in 2022, neither it nor any of the other
27         Defendants have made any of the required $15,000.00 monthly payments that are due on the
28

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 1         28th of each month under paragraph 3 of the Contempt Order even though paragraph 4 of this
 2         Order made all Defendants jointly and severally liable for all of the required payments. This
 3         means that as of the date of this filing, Defendant Senvoy has not made two of the required
 4         $15,000 payments totaling $30,000.00 even though Defendant Brazie reimbursed it over
 5         $31,600 for payments that Defendant Senvoy made to it in violation of the Contempt Order.
 6   26.   The sum of Defendant Senvoy’s and Defendant ZoAn’s prohibited payments of Defendant
 7         Brazie’s personal bills and Defendant ZoAn’s shareholder distributions total over $150,000.00
 8         given that Defendant Brazie’s counsel admitted that Defendant ZoAn made $79.000.00 in
 9         shareholder distributions from November 16, 2021, to January 3, 2022.
10   27.   Defendant Brazie admitted at his Debtor’s Exam that he was a guarantee for a $3,500,000.00
11         lien for TKM Land and that the value of TKM Land on his personal financial statement should
12         have been negative. The Exh.1 attached hereto contains Exh. 1 from the Debtor’s Exam which
13         is the Personal Financial Statement that Defendant Brazie submitted in his Court ordered
14         document production prior to the exam.
15
           I declare under penalty of perjury that the foregoing is true and correct to the best of my
16
17   knowledge.

18
           Executed: March 14, 2022
19
20                                                /s/ Norman E. Garcia
21                                               NORMAN E. GARCIA

22
23
24
25
26
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28

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           Exhibit 1
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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                PORTLAND DIVISION




         MARTIN J. WALSH, SECRETARY OF LABOR,

                        Petitioner,

         Vs.                                 CASE NO.: 3:16-CV-02293-HZ

         SENVOY, LLC; DRIVER RESOURCES, LLC;
         ZOAN MANAGEMENT, INC.; and
         GERALD E. BRAZIE, JR.,

                   Respondents.
         _____________________________________________________




                                                               DEPOSITION OF

                                                    GERALD E. BRAZIE, JR.


                                                               TAKEN ON
                                             THURSDAY, OCTOBER 14, 2021
                                                              9:05 A.M.


                                620 SOUTHWEST MAIN STREET, ROOM 419
                                            PORTLAND, OREGON 97205
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                                                          Gerald Brazie October 14, 2021 NDT Assgn # 53522                      Page 9

                                                               30                                                                  32

 1       Q. And those included American Express bank                 1      Q. Who prepared Exhibit 1?
 2   statements?                                                     2      A. Brooke Wiggins.
 3       A. Yes.                                                     3      Q. Did you verify the information in it?
 4          MR. GARCIA: Court Reporter, please mark                  4      A. Yes.
 5   this next document as Exhibit 1.                                5      Q. How did you do so?
 6          THE REPORTER: Exhibit 1, sir?                            6      A. We went through item by item.
 7          MR. GARCIA: Yes.                                         7      Q. And did you look at documents to verify
 8          THE REPORTER: It's been marked as such.                  8   the information?
 9          MR. GARCIA: Please provide it to the                     9      A. I did not.
10   witness.                                                       10      Q. So how do you know it's true and accurate?
11          THE REPORTER: Yes, sir.                                 11      A. I took her word for it.
12          (WHEREUPON, Exhibit 1 was marked for                    12      Q. So you actually don't know; correct?
13   identification.)                                               13      A. Correct.
14   BY MR. GARCIA:                                                 14      Q. So you produced a financial statement
15       Q. Mr. Brazie, do you recognize that                       15   based on a court order and you did not even take the
16   document?                                                      16   time to verify any of the information on it with
17       A. Yes.                                                    17   documents?
18       Q. What is it?                                             18      A. No.
19       A. My personal financial statement.                        19      Q. Is that a correct statement?
20       Q. Did you help to prepare that?                           20      A. That is a correct statement.
21       A. Yes.                                                    21      Q. Why not?
22       Q. Is the information on it true and correct?              22      A. Brooke does all of this for me.
23       A. I believe so.                                           23      Q. So --
24       Q. Is the information on it complete?                      24      A. So she would know the number better than I
25       A. I believe so.                                           25   would.


                                                               31                                                                  33

 1       Q. Now, I notice that TKM Investment                        1       Q. People make mistakes; correct?
 2   Properties is not located on it; correct?                       2       A. They do.
 3       A. Correct.                                                 3       Q. And financials usually have documents
 4       Q. Why?                                                     4   attached to them; correct?
 5       A. There is no value in TKM.                                5       A. They do.
 6       Q. So no value in TKM Investment Properties?                6       Q. And yet you didn't look at any documents
 7       A. Excuse me. I'm sorry. There -- I'm                       7   and you put your total faith in Ms. -- is Brooke her
 8   sorry. When we did this there's no -- TKM                       8   first name or last name?
 9   essentially has no assets, no longer has any value.             9       A. First name. Yes, correct.
10       Q. Well, you identified the other three                    10       Q. What is her last name?
11   companies have zero assets and value; right?                   11       A. Wiggins.
12       A. Correct.                                                12       Q. Have all the documents that have been used
13       Q. So why wasn't TKM Investment Properties                 13   to come up with the figures at Exhibit 1, have they
14   listed?                                                        14   been produced to me?
15       A. The other companies are still -- are still              15       A. I don't know.
16   operating.                                                     16       Q. Did you instruct Ms. Wiggins?
17       Q. Well, you just said it was not provided                 17          So for the record, since I found out
18   because it had no assets.                                      18   Brooke is the first name -- I should have asked it
19       A. Correct. No longer operating, doesn't                   19   before. I apologize -- I will now refer to Brooke
20   have any assets.                                               20   as Ms. Wiggins.
21       Q. Oh, okay.                                               21          Did you ask Ms. Wiggins if she provided to
22       A. There's no value.                                       22   you all the documents that would support the numbers
23       Q. So, okay. So now you're changing it to no               23   in Exhibit 1?
24   longer operating and no assets; correct?                       24       A. Yes.
25       A. Yes.                                                    25       Q. And what did she say?
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 1      A. Yes.                                                      1       A. That's, like I said, I don't know. I'll
 2      Q. And who's the shareholder for ZoAn?                       2   have to find that out.
 3      A. Me.                                                       3       Q. This is not the first time, nor the only
 4      Q. So ZoAn sends -- correct. Senvoy sends                    4   time that that has been done.
 5   $150,000 to ZoAn and then a couple days later ZoAn              5       A. No, it happens all the time.
 6   makes a distribution of $50,000 to you; correct?                6          MR. GARCIA: Would you please mark the
 7      A. Yes.                                                      7   next document as Exhibit 18, please?
 8      Q. So then the money that Senvoy sent to ZoAn                8          THE REPORTER: It's been marked as such.
 9   was not just to pay their payroll, it's also to make            9          (WHEREUPON, Exhibit 18 was marked for
10   a distribution to you; correct?                                10   identification.)
11      A. I don't know but that distribution did                   11   BY MR. GARCIA:
12   take place.                                                    12       Q. So one thing, I'm just going to go on the
13      Q. Right. Within days of that money being                   13   record back to Exhibit 16. Exhibit 16 is a general
14   sent from Senvoy to ZoAn; correct?                             14   ledger for ZoAn Management. It's from Bates stamp
15      A. Yes.                                                     15   5635 to Bates stamp 5644. And it's a general ledger
16      Q. Now, I'm going to go back to your                        16   of the Key Bank Checking for ZoAn Management for the
17   declaration, Exhibit 15. And I want you to go to               17   year of 2020.
18   page nine, paragraph 56.                                       18          Exhibit 18 is also ZoAn Management General
19          Are you there?                                          19   Ledger as of December 31, 2020 from Bates stamp 5712
20      A. Yes.                                                     20   to Bates stamp 5713.
21      Q. I'm going to read paragraph 56. It says,                 21          Do you recognize Exhibit 18?
22   "To keep the company going, I have contributed my              22       A. Yes.
23   own money, for the most part, everything I have, to            23       Q. Okay. Exhibit 18, at the bottom of
24   keep the company afloat over the last four years."             24   Exhibit 18, the first page, continuing on to the
25          Did I read that correctly?                              25   second page is Shareholder Distributions by ZoAn


                                                              151                                                                  153

 1        A. Yes.                                                    1   Management; correct?
 2        Q. Okay. So here we have Senvoy sending ZoAn               2           MR. PATERNOSTER: Counsel, can we just
 3   $150,000 and then shortly thereafter, literally                 3   confirm for the record, I think you said Exhibit 18.
 4   within days, ZoAn is making a distribution of                   4   Are we working off of Exhibit 17 still? We may not
 5   $50,000 to you; correct?                                        5   have a copy of Exhibit 18.
 6        A. Yes.                                                    6           MR. GARCIA: If you do not have a copy, I
 7        Q. So is that statement in paragraph 56 true?              7   apologize.
 8        A. One hundred percent, absolutely. We don't               8           MR. PATERNOSTER: No. It's numbered. It
 9   know where this money went. Well, I'd have to find              9   could have been a lot of different things. All
10   that out whether it went to pay back debt, whether             10   right, I think we're good.
11   or not it moved onto somewhere else. I don't know.             11           MR. GARCIA: Okay.
12        Q. But it's --                                            12           MR. PATERNOSTER: Thank you. Sorry.
13        A. So --                                                  13           MR. GARCIA: No problem.
14        Q. I'm sorry; I didn't mean to interrupt.                 14   BY MR. GARCIA:
15        A. And there had been money going in and                  15       Q. So at the bottom of Exhibit 18, the first
16   going out now for four years as I've been covering             16   page of Bates stamp 5712, continuing on to Bates
17   the expenses and the shortfall, particularly over              17   stamp 5713, it identifies the shareholder
18   the last -- or in particular in '19 and '20. So did            18   distributions that ZoAn Management, Inc. has made
19   I put this money in my pocket? I doubt it but I                19   for 2020; correct?
20   don't have the history on that but I stand by my               20       A. Yes.
21   statement 100 percent.                                         21       Q. And on the second page of Exhibit 18,
22        Q. So let me ask you this then because I'm a              22   Bates stamp 5713, identifies a total of $209,950.39
23   little confused. Yeah, I'm confused. Why would                 23   of shareholder distributions; correct?
24   Senvoy have to send money to ZoAn so ZoAn can make a           24       A. Yes.
25   shareholder's distribution?                                    25       Q. And again, you're the only shareholder of
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 1   ZoAn Management, Inc.; correct?                                1   20.
 2      A. Correct.                                                 2   BY MR. GARCIA:
 3          MR. GARCIA: Counsel, I apologize -- no,                 3      Q. Mr. Brazie, do you recognize Exhibit 20?
 4   okay.                                                          4      A. Yes.
 5          MR. PATERNOSTER: Did I mess up your                     5      Q. What is it?
 6   numbers?                                                       6      A. General ledger again from ZoAn Management
 7          MR. GARCIA: Yeah.                                       7   through August 31, 2021.
 8          Go off the record for a second.                         8      Q. Right. And for this particular one it's
 9          THE REPORTER: The time is 1:21 p.m. and                 9   Bates stamped 7057 to 7058. Now, I'm focusing on
10   we are now off the record.                                    10   the utilities for ZoAn Management.
11          (WHEREUPON, a recess was taken.)                       11          Do you recognize any of the bills
12          THE REPORTER: The time is 1:22 p.m. and                12   underneath that?
13   we are now back on the record.                                13      A. I can -- I don't but they're clearly mine
14          MR. GARCIA: So I just want to correct the              14   from my house in Tennessee.
15   record. There is no Exhibit 17.                               15      Q. Correct. So, and it's just the bills that
16          I'm going to ask you to mark this document             16   are being paid each month.
17   as Exhibit 19.                                                17      A. Correct.
18          THE REPORTER: It has been marked as such.              18      Q. I'm just going to go through them. Not
19          (WHEREUPON, Exhibit 19 was marked for                  19   the amounts but the, excuse me, the types of bills.
20   identification.)                                              20          Do you know what Microfton Utility
21   BY MR. GARCIA:                                                21   District, do you know what utilities that provides?
22      Q. Mr. Brazie, Exhibit 19 is ZoAn Management,              22      A. No.
23   Inc. general ledger as of August 31, 2021 with a              23      Q. It provides water.
24   Bates stamp 7030; correct?                                    24          And Franklinton is in Williamson County;
25      A. Yes.                                                    25   correct?


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 1       Q. And this document identifies the                        1      A. Yes.
 2   shareholder distribution for year to date up until             2      Q. City of Franklin. Do you know what those
 3   August 31, 2021 is a total of $291,000 year to date            3   payments were for?
 4   August 31, 2021; correct?                                      4      A. No.
 5       A. Correct.                                                5      Q. Do you know whether they were payments for
 6       Q. And you don't know where the shareholder                6   garbage?
 7   distribution went; correct?                                    7      A. I don't know.
 8       A. I don't have the details for that. No.                  8      Q. Okay. Do you see there's also Atmos
 9          MR. GARCIA: Please mark the next document               9   Energy.
10   as Exhibit 20. But don't give it to him yet.                  10          Do you know what services Atmos Energy
11          THE REPORTER: Okay.                                    11   provides?
12          (WHEREUPON, Exhibit 20 was marked for                  12      A. No.
13   identification.)                                              13      Q. You don't know whether it provides natural
14   BY MR. GARCIA:                                                14   gas, like on its website?
15       Q. So Mr. Brazie, what are the expenses or                15      A. I do not.
16   the costs that ZoAn Management has?                           16      Q. Okay. And then Comcast Tennessee. And do
17       A. Mostly employee.                                       17   you have cable and TV service at your home in
18       Q. Employee-related costs, like benefits,                 18   Tennessee?
19   pay?                                                          19      A. Yes.
20       A. Yes.                                                   20      Q. Do you know who provides it?
21       Q. Things of that nature? Have any other                  21      A. Comcast.
22   costs besides employee-related costs?                         22      Q. And so if you look on the second page of
23       A. I'm sure it has some overhead, rent,                   23   Exhibit 20, Bates stamp 7058, it identifies year to
24   things of that nature.                                        24   date that it's over $10,000 that's been paid for
25          MR. GARCIA: You may now give him Exhibit               25   your utilities in Tennessee; correct?
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 1   that and so I can get you the answer to that                   1   specifically looked at to make that determination.
 2   question. It's just that wouldn't be the type of               2       A. I don't have to look at it. In fact,
 3   thing that I would concentrate on.                             3   whatever I looked at, I don't have to look at
 4       Q. I understand that. But I guess do you                   4   anything. I know what the companies are worth. I
 5   also know that a corporation needs an attorney to              5   work in it every day. So the revenue is down almost
 6   represent it in a court of law, in the Federal                 6   60 percent since 2018. And the land is about $3.5
 7   District Courts?                                               7   million in debt against what might be $1.2 million
 8       A. I'm sorry?                                              8   asset. It's a development that hasn't been able to
 9       Q. Do you know that a corporation needs an                 9   get off the ground, nor will it obviously any time
10   attorney to represent it? It cannot represent                 10   soon. So you take the loss of revenue, the
11   itself pro se?                                                11   additional expenses that are combined, that are
12       A. No.                                                    12   added because of the cost of operating today in the
13       Q. So you don't know of the extra issues that             13   world of COVID. Costs have gone through the roof.
14   are involved with a company being a corporation as            14   So both companies are unprofitable. We'll say all
15   opposed to a limited liability company; would that            15   three companies, but really, the two operating
16   be correct?                                                   16   companies, Senvoy and to a smaller extent, TKM Land,
17       A. Off the top of my head, no.                            17   hold zero value if I were to try to sell them.
18       Q. And I hate to repeat myself and I                      18       Q. So what I'm hearing you saying is they
19   apologize if I said this earlier. You see no issue            19   have no value based on your experience based on the
20   in consolidating the functions that ZoAn Management,          20   debts and the loan.
21   Inc. performs into Senvoy, LLC; correct?                      21       A. And the operations.
22       A. Correct.                                               22       Q. And the operations.
23       Q. Now, we're going to go back to Exhibit 1.              23       A. Yes.
24   You should always keep Exhibit 1 separate.                    24       Q. But you have not looked at any particular
25       A. And of course I didn't.                                25   documents showing the value of those companies;


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 1        Q. That's okay.                                           1   correct?
 2           Is that my personal financial statement?               2       A. The document would just tell me what I put
 3        A. Yes.                                                   3   on the document so I wouldn't look at a document. I
 4        Q. That's why I made it number one.                       4   know without looking at it.
 5        A. There it is.                                           5       Q. Right. But you don't put the figures in
 6        Q. Okay. Now, in that you said that your                  6   the document, right, because Ms. Wiggins does;
 7   companies are Senvoy, LLC; TKM Land, LLC; and ZoAn             7   correct?
 8   Management, Inc. all have a value of zero.                     8       A. Well, I don't do the financials if that's
 9        A. Yes.                                                   9   your question.
10        Q. How was that determination made?                      10       Q. Right.
11        A. The companies are all currently either                11       A. Yeah; correct.
12   under water or losing money and the debt that they            12       Q. Right. Because, so therefore, you don't
13   have.                                                         13   do the financials in the document; correct?
14        Q. And who made that determination?                      14       A. I don't do the financials. That's
15        A. Me                                                    15   correct. I just look at them.
16        Q. Did you look at financials to make that               16       Q. Right. And so what I'm asking you is did
17   determination?                                                17   you actually look at the financials before you made
18        A. Yes.                                                  18   that determination of zero?
19        Q. What did you look at?                                 19       A. Yes.
20        A. It would have been financials, you know,              20       Q. And what financial documents did you look
21   through June 30. It's pretty straightforward. Just            21   at?
22   looking at the debt that the companies have would             22       A. I don't remember the months specifically
23   tell you that there's very little -- there's very             23   but pretty much any month would tell me the same
24   little value there.                                           24   thing.
25        Q. So I'd really like to know what you                   25       Q. So what I'm understanding you to say is
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 1   really if I looked at the documents, the documents              1   Either I'm able to pay myself a salary, pay myself
 2   would show me, but you can't remember what you                  2   money in order to do that or I have to go do that
 3   looked at. Is that what you're telling me?                      3   somewhere else. So if I can do that inside of the
 4        A. Well, it doesn't change what I looked at.               4   company the way that I have, we keep everybody
 5   I said it's either, any month that I happen to look             5   employed, that's a win-win for everybody. If I'm
 6   at is going to tell me what I need to know which is             6   not going to pay myself, why would I work?
 7   that the companies are -- have zero value. Add on               7        Q. So let me say it a different way. You
 8   top of it that I have independent -- or I don't use             8   are, as I noted in the documents that were filed
 9   independent contractors which is what 90 percent of             9   with the court for contempt, there was a three-month
10   the market does and it makes the company even less             10   timespan in 2020 where you and your wife were
11   marketable. So you have to take that into account.             11   incurring over $80 in one sitting in a bill that was
12   So you have a company with negative cash flow.                 12   used on the credit card every other day in a three-
13   You've got a company that's not making a net profit            13   month period. There's a difference between I have
14   when you look at ZoAn and Senvoy and TKM Land                  14   to live and I have to go buy groceries as opposed to
15   together.                                                      15   going out and living that type of lifestyle. So if
16        Q. But these companies that have zero value               16   a company is in dire financial straits, why are you
17   and a have a loss in revenue and are not making any            17   spending so much money on what you're spending money
18   money are paying your personal bills; right?                   18   on?
19        A. Well, again, the question there is, yeah,              19        A. My value is whatever I think it is. So
20   if they didn't pay my personal bills I would then              20   either my time is worth it for me to pay myself or
21   have to shut this company down and go --                       21   it's not. And if it's not, and if I can't get what
22        Q. Right.                                                 22   I think I'm worth, then I simply will bankrupt that,
23        A. -- do something else.                                  23   shut it down, and go do something else. I try not
24        Q. Right. So the function of Senvoy is to                 24   to -- I've avoided doing that because I, like I
25   remain open to pay your bills; right?                          25   said, I have 85 employees in a business that have


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 1       A. Well, that, and I have, you know, 75-80                  1   been around for 25 years.
 2   employees, many of which have worked for me for 20              2          But the reality is, the question you're
 3   years.                                                          3   really getting at is paying the Department of Labor
 4       Q. Right.                                                   4   back and paying those employees back and what I
 5       A. So I feel a responsibility for them,                     5   spend every month has never had an impact on whether
 6   obviously.                                                      6   or not I'm able to pay those people. The reality is
 7       Q. But you also have employees that worked                  7   that they were going to get paid out of real estate
 8   with you that are part of that $3.2 million                     8   sales that I was doing and that would have been --
 9   judgment; correct?                                              9   that was the only way that they were going to get
10       A. Correct.                                                10   the $3.2 million. That obviously blew up for a
11       Q. And --                                                  11   myriad of reasons in the intervening two and a half
12       A. That doesn't change the fact that 85                    12   years, and that's the reason that we're sitting
13   people will be out of business if I close down.                13   here.
14       Q. Right. But let's look at your expenses;                 14          How much my wife spends at Bed Bath &
15   right?                                                         15   Beyond isn't going to get the $3.2 million paid
16       A. Okay.                                                   16   back, nor is it going to get the millions that are
17       Q. You're making personal expenses of going                17   owed to the other entities also. They're not going
18   out and your wife is charging for massages and nails           18   to get paid back. Had I been able to close the real
19   and your wife is buying wine and your boss -- if I             19   estate like we were working on then the feds were
20   said your boss I made a mistake. It's your wife.               20   the first ones to get paid. That didn't happen.
21   And your wife is going to Calhoun's. And I'll get              21      Q. Okay. But what I understand you to say,
22   into some of the other expenses shortly. But if a              22   and again, you know, like I've done throughout the
23   company is in dire financial straits as you say,               23   deposition, I tried to summarize what I understand
24   then why are you making those type of expenditures?            24   you to say and ask you to correct. I understand
25       A. Again, I have to -- I have to live.                     25   that you are a sophisticated businessman. That
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 1   of those -- or guaranteed payments -- as you go               1   have money and payments going through several
 2   through those credit card payments, those are then            2   different accounts to do that. And usually, like I
 3   taken in the aggregate and what belonged to me, it            3   said, I'm not casting any dispersions against you.
 4   comes to me as a guaranteed payment, flows through            4   Usually I find out that's when people are trying to
 5   my tax returns as income and then what is company             5   hide money to do that.
 6   expenses gets expensed.                                       6          So long story short, that's why I'm
 7       Q. Okay. But we have no -- but you have not               7   expressing concern, partially why I'm asking you
 8   filed 2019 and 2020 tax returns?                              8   these questions because I have serious concerns when
 9       A. Correct.                                               9   we're told that, well, at the end of the year we
10       Q. So that has not happened yet of what you              10   reconcile because I've seen many times where that
11   just said; correct?                                          11   does not occur.
12       A. Correct. But it's happened in previous                12          Okay. So I actually have a couple
13   years, so you can look to 2018 as an example.                13   statements to go through that would show that you
14       Q. But I've not received the 2018 general                14   made charges at like at Universal Men's Clinic;
15   ledger.                                                      15   correct?
16       A. Okay.                                                 16       A. Yes.
17          MR. PATERNOSTER: Did we only provide '19              17       Q. And you've made multiple charges at that?
18   through '21?                                                 18       A. Yes.
19          MR. GARCIA: Yeah. That's my predicament.              19       Q. And I won't go into detail and ask you
20          THE WITNESS: I don't remember what your               20   what that is for.
21   original question was, sorry, but that was -- when           21          So let me, in lieu of that, let me just
22   you said Senvoy pays the bills, I wanted to make             22   ask you this. Other than that State Farm Insurance
23   sure that --                                                 23   policy premium that we saw on Columbia Bank less
24   BY MR. GARCIA:                                               24   than $20 appears to be made on a monthly basis, is
25       Q. Okay. So I understand what you're                     25   it safe to say that all of the personal expenses of


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 1   testifying. What I understand you saying, and I               1   your wife and you, be it medical, dental, groceries,
 2   think you said this earlier, but your companies, be           2   eating out, entertainment, vehicle related are paid
 3   it ZoAn or Senvoy, pay your private personal bills            3   by one of your companies, either Senvoy or ZoAn?
 4   and that you believe that at the end of the year              4       A. Yes.
 5   there's a reconciliation of those payments.                   5       Q. Okay. And then you have the expectation
 6       A. Yes.                                                   6   at the end of the year that those would be
 7       Q. Okay. Such that the payments for you get               7   reconciled; correct?
 8   charged to you?                                               8       A. Yes.
 9       A. Yes.                                                   9       Q. Okay. I want to go back to Exhibit 2.
10       Q. Okay. And one statement I will make to                10   That's your declaration of financial status.
11   you is you have all this transfers of money going            11       A. Okay.
12   between one account or one business to another               12       Q. Okay. So on page five of that -- I've got
13   business. We walked through one of them. That was            13   to find where -- okay. Page five, Bates stamp 28.
14   the $150,000 from Senvoy to ZoAn and then a couple           14       A. Okay.
15   days later there was a $50,000 shareholder                   15       Q. At the top you show a total monthly income
16   distribution. And so usually when I see that                 16   of $20,928. Do you see that?
17   happening like that where it bounces around to               17       A. Yes.
18   different companies, it's to cause confusion and to          18       Q. And under declarant it's $3,928. That's
19   hide things because then you literally have to               19   for wages; right?
20   follow the money and follow the paper trail. That's          20       A. Yes.
21   how I found out that Senvoy was paying for your              21       Q. And then other income from all sources is
22   credit cards is because I got the credit card                22   $17,000; correct?
23   statement from Capital One and then I tracked back           23       A. Yes.
24   the routing number and the account number and found          24       Q. What is your source of income? How much
25   out it was Senvoy. So that's what happens when you           25   income do you get from whom to make up that $17,000
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 1   and whatnot, you would know that that's incorrect;               1       Q. Okay. So I'm going to start it over.
 2   correct?                                                         2          So I asked Mr. Paternoster, I said I first
 3      A. Yeah, absolutely. I'm going to assume she                  3   thought this was related to your house, right,
 4   saw credit card debts but I don't know.                          4   because it's located under real property.
 5      Q. It says debts to include credit card                       5       A. Yes.
 6   debts; right?                                                    6       Q. So I said, well, did you pay it off?
 7      A. Yeah, I don't -- clearly that's not even                   7   Because you didn't provide me any documents. He
 8   remotely --                                                      8   said, no, let me provide you the documents for that
 9      Q. Okay.                                                      9   $3.5 million debt. When he provided me the
10      A. -- when you're talking about all debt.                    10   documents, I believe two promissory notes, they
11      Q. Now, I'm going to go to the next page,                    11   total $3.5 million debt but the only debtor is TKM
12   page eight. Bates stamp 31. Do you see the real                 12   Land.
13   property listed under that?                                     13          MR. GARCIA: Is that correct, Mr.
14      A. Yes.                                                      14   Paternoster?
15      Q. We've already talked about why lots 11,                   15          MR. PATERNOSTER: I think that's right.
16   12, 14, and 15 were not included. And I see that                16   And then just to finish my thought, and counsel
17   there's a $3.5 million Sunstone business finance                17   certainly can follow up with a question, I think the
18   debt there if you will; right?                                  18   question then was, okay, well, if it's only -- if
19      A. Yes.                                                      19   the documents only show TKM Land, why is it listed
20      Q. And what I understood is that's not a real                20   on this document? And I said I didn't know but I
21   property debt; correct?                                         21   think I offered what was the speculation that it may
22      A. It's not -- it's collateral for a chunk of                22   have been because you were a guarantor on that
23   land in Southeast Portland that is -- or that has               23   property or something along those lines. I could be
24   been trying to be developed for years.                          24   long.
25      Q. Right. And TK Investments -- who owns                     25          MR. GARCIA: But no documents were


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 1   that land?                                                       1   provided to me.
 2       A. TKM Land.                                                 2           MR. PATERNOSTER: Yeah.
 3       Q. TKM Land?                                                 3           MR. GARCIA: Showing that circumstance.
 4       A. Yes.                                                      4           MR. PATERNOSTER: And so again, maybe you
 5       Q. Okay. Does TKM Land still own that?                       5   can --
 6       A. Yes.                                                      6   BY MR. GARCIA:
 7       Q. Okay. So why is that investment listed on                 7       Q. So my question is, is the $3.5 million
 8   this declaration of financial status?                            8   lien, because of the two promissory notes, is that
 9       A. Why isn't it?                                             9   totally a debt of TLK (sic) Land?
10       Q. Why is it? This $3.5 -- so now I'm                       10       A. It's a debt of TKM Land within a guarantee
11   changing gears. I'm sorry. To why is this $3.5                  11   from me.
12   million listed under real property for you and your             12       Q. Okay.
13   spouse on Exhibit 2?                                            13       A. Personally, that includes a lien on my
14       A. I don't -- I don't know. I think the                     14   primary residence.
15   assumption was made -- I'm trying to think -- that              15       Q. Okay. Do you have a document to that
16   we have the amount of the mortgages and then you                16   effect?
17   have a guarantee, if you will.                                  17       A. It wasn't in the promissory notes?
18       Q. Okay. Now, the document that Mr.                         18           MR. PATERNOSTER: I'll have to look.
19   Paternoster provided, or actually the two documents             19           THE WITNESS: I thought we provided -- I
20   that he provided to me for that debt, it does not               20   mean, why would we give the notes and not -- that
21   have -- it only has TKM Land as a debtor. And so I              21   doesn't make any sense. Yeah, I mean, I would have
22   asked him why and he thought maybe you were debt but            22   thought it would be -- we would have made the
23   he hasn't provided me anything.                                 23   assumption it was inside of those promissory notes.
24       A. I'm sorry; the TKM Land? I got lost                      24   BY MR. GARCIA:
25   there.                                                          25       Q. Well, I want back to Mr. Paternoster with
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 1   that question and he was not able to answer it so                1   E, last name B-E-S-B-A-T-I?
 2   that's why I'm asking you it today to try to                     2       A. You lost me on that spelling.
 3   understand what it is because --                                 3       Q. Do you know anyone name Mr. Besbati,
 4        A. So TKM Land has the deal with the lender.                4   B-E-S-B-A-T-I?
 5   I'm the owner of TKM Land.                                       5       A. It doesn't sound familiar at all.
 6        Q. I understand that.                                       6       Q. Because there are several -- there are
 7        A. Okay.                                                    7   lots of charges for him. And you don't know who
 8        Q. But here's the issue. Why is -- because                  8   that is?
 9   the first thing that brought it up is why is that                9       A. It doesn't sound familiar at all.
10   $3.5 million not listed on Exhibit 1 for your house?            10       Q. Okay. Let me bring up another name that
11        A. I don't know.                                           11   appears a lot. Maybe I'm looking at the wrong one.
12        Q. Okay.                                                   12          This first one says -- or I'm sorry, it's
13        A. Yeah, because it's in here as zero and it               13   a hyphenated last name, N-E-W-R-E-Z hyphen
14   should be a negative.                                           14   S-H-E-L-L-P-O-I-N-A-C-H.
15        Q. Well, that's what I'm trying to                         15          Do you know that person?
16   understand.                                                     16       A. No.
17        A. Yeah.                                                   17       Q. Okay. Because this person gets a sizeable
18        Q. Is when I don't have two documents match,               18   amount, thousands and thousands of dollars multiple
19   it's like my little radar goes off and I start                  19   times. They're getting, it seems like every month,
20   asking questions. And I've been asking questions                20   2021, $2,067.01.
21   for several weeks now and so far I have not received            21          Are you the holder of any other credit
22   a definitive answer that I can look back at                     22   card statement -- or correction. Any other credit
23   documentation to do it because obviously, $3.5                  23   card accounts that we haven't identified today?
24   million debt, there's going to be documentation if              24       A. I don't believe so. No.
25   someone's on the hook for that or some legal entity             25       Q. Now, there's a Key Bank Visa account, last


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 1   is on the hook for that. So I'm seeking to have                  1   four 3673.
 2   that.                                                            2         Do you know anything about that account?
 3           MR. PATERNOSTER: I'm sorry; you think                    3       A. A Key Bank Visa you said?
 4   that would have been with the promissory note?                   4       Q. Yes. 3673.
 5           THE WITNESS: Yeah. I would have -- I                     5       A. I don't know other than it's a credit
 6   mean, I don't know why we would send promissory                  6   card.
 7   notes, it wouldn't be in there in total. So that                 7       Q. Do you have a company named S-A- -- or do
 8   doesn't make sense.                                              8   you know of a company S-A-I-F Corporation?
 9   BY MR. GARCIA:                                                   9       A. Yeah, that's SAIF. That's workers' comp.
10        Q. And, you know, I may have missed it but                 10       Q. Okay.
11   usually it's right at the beginning on the first                11       A. Here in the State of Oregon.
12   page.                                                           12       Q. And e-Courier. Do you do business with
13        A. Yeah, trust me. There's documentation --                13   e-Courier?
14           MR. PATERNOSTER: We will certainly --                   14       A. Yeah, that's our operating system.
15   it's certainly not something we're trying to hide.              15       Q. Okay. How many vehicles does Senvoy have?
16   And I will also represent that we have produced                 16       A. Oh, I don't know. Maybe six or eight.
17   every document that we received and not withheld any            17       Q. Okay. So who drives the vehicles? We
18   so we may have --                                               18   know that your three daughters drive three and your
19           MR. GARCIA: Well, I have issues with that               19   wife drives one. What are the other four -- who
20   because we've already discussed things like the                 20   drives the other four vehicles?
21   Northwestern Mutual that it's within his control to             21       A. They're -- we have three or four transit
22   acquire.                                                        22   vehicles that are driven by employees for transit.
23   BY MR. GARCIA:                                                  23   You know, vans.
24        Q. Do you know someone, and I'm terrible with              24       Q. And what are the transit vans used --
25   names so I'll spell it, first name G-U-I-L-H-E-R-M-             25       A. For transit. It's a van. You know, a
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 1               CERTIFICATE                                            1               DECLARATION
 2                                                                      2   Deposition of: Gerald E. Brazie, Jr. Date: 10/14/21
 3      I, Jordan Weems, do hereby certify that I reported all          3   Regarding: Secretary of Labor vs. Senvoy, LLC
 4   proceedings adduced in the foregoing matter and that the           4   Reporter:    Weems/Morrison
 5   foregoing transcript pages constitutes a full, true,               5   ____________________________________________________
 6   and accurate record of said proceedings to the best of             6
 7   my ability.                                                        7   I declare under penalty of perjury the following to
 8                                                                      8   be true:
 9       I further certify that I am neither related to                 9
10   counsel or any part to the proceedings nor have any               10   I have read my deposition and the same is true and
11   interest in the outcome of the proceedings.                       11   accurate save and except for any corrections as made
12                                                                     12   by me on the Correction Page herein.
13      IN WITNESS HEREOF, I have hereunto set my hand this            13
14   28th day of October, 2021.                                        14   Signed at ____________________________, ____________
15                                                                     15   on the ______________ day of ________________, 2021.
16                                                                     16
17                                                                     17
18                                                                     18
19                                                                     19
20   /S/ Jordan Weems                                                  20
21                                                                     21
22                                                                     22
23                                                                     23
24                                                                     24              Signature___________________________
25                                                                     25                   Gerald E. Brazie, Jr.


                                                                 207

 1              CORRECTION SHEET
 2   Deposition of: Gerald E. Brazie, Jr. Date: 10/14/21
 3   Regarding: Secretary of Labor vs. Senvoy, LLC
 4   Reporter:     Weems/Morrison
 5   ____________________________________________________
 6   Please make all corrections, changes or clarifications
 7   to your testimony on this sheet, showing page and line
 8   number. If there are no changes, write "none" across
 9   the page. Sign this sheet on the line provided.
10   Page Line Reason for Change
11   _____ _____ ________________________________________
12   _____ _____ ________________________________________
13   _____ _____ ________________________________________
14   _____ _____ ________________________________________
15   _____ _____ ________________________________________
16   _____ _____ ________________________________________
17   _____ _____ ________________________________________
18   _____ _____ ________________________________________
19   _____ _____ ________________________________________
20   _____ _____ ________________________________________
21   _____ _____ ________________________________________
22   _____ _____ ________________________________________
23   _____ _____ ________________________________________
24               Signature___________________________
25                    Gerald E. Brazie, Jr.
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           Exhibit 9
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                                                                                                                                                               Cabela's CLUB card ending in 4904
                                                                                                                                     Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                              Payment Information                                                                                             Account Summary
  Payment Due Date                                  For online and phone payments, the                     Previous Balance                                                                       $9,218.48
                                                    deadline is 8pm ET.
  Dec 14, 2021                                                                                             Payments                                                                            - $11,000.00
  New Balance                                       Minimum Payment Due                                    Other Credits                                                                                $0.00
  $7,755.06                                         $114.00                                                Transactions                                                                         + $9,499.31
  LATE PAYMENT WARNING: If we do not receive your minimum payment                                          Cash Advances                                                                             + $0.00
  by your due date, you may have to pay a late fee of up to $40.00.
                                                                                                           Fees Charged                                                                              + $0.00
  MINIMUM PAYMENT WARNING: If you make only the minimum
  payment each period, you will pay more in interest and it will take you                                  Interest Charged                                                                         + $37.27
  longer to pay off your balance. For example:
                                                                                                           New Balance                                                                          = $7,755.06
   If you make no                   You will pay off  And you will end up paying
   additional charges using         the balance shown an estimated total of...                             Credit Limit                                                                          $10,700.00
   this card and each               on this statement
                                                                                                           Available Credit (as of Nov 19, 2021)                                                  $2,944.94
   month you pay...                 in about...

   Minimum Payment                  21 Years                 $16,746                                       Cash Advance Credit Limit                                                              $4,280.00

   $269                             3 Years                  $9,688                                        Available Credit for Cash Advances                                                     $2,944.94

   Estimated savings if balance is paid off in about 3 years: $7,058
                                                                                                         Points Summary as of 11/18/2021                                 Your Current Level: BLACK
                                                                                                         Redeem at Bass Pro Shops & Cabela's                      Spend $25,000.00 each year to maintain
  If you would like information about credit counseling services, call 1-888-326-8055.                        (Points shown in dollars)                             BLACK status. You have $0.00 to go!
                                                                                                         Previous Balance                                                $734.93
                                                                                                         Points earned at Bass Pro Shops and Cabela's                      $0.00           Total Points Balance
                                                                                                         Other Points added (promos & other purchases)                    $98.44                 $833.37
                                                                                                         Points Redeemed                                                   $0.00

                                                                                                                  For up-to-date points balance & program details, visit cabelas.com/myclub




                                                                                 Account Notifications
         Please note that balances described as "Other Purchases and Transfers" in account opening disclosures and other program documents are displayed as the
         "Purchases" balance on this statement.




Pay or manage your account at cabelas.capitalone.com                                          Customer Service: 1-800-850-8402                                     See reverse for Important Information




         JERRY E BRAZIE
         PO BOX 14607
         PORTLAND, OR 97293-0607



   Payment Due Date: Dec 14, 2021                                      Account ending in 4904

    New Balance                        Minimum Payment Due                       Amount Enclosed                       Capital One
                                                                                                                       P.O. Box 60599
    $7,755.06                          $114.00                                  $ ________                             City of Industry CA 91716-0599
   Please send us this portion of your statement and only one check (or one money order) payable to Capital One        TTDDFFTADDATFFFDFFATFDTFTDFTDDTTTATTDFFTADDDDDAAATFTFDTATDFTFFFFD
   to ensure your payment is processed promptly. Allow at least seven business days for delivery.


                                                                                     1 5463256448554904 19 7755060500000114004
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How can I Avoid Paying Interest Charges? If you pay your New Balance in full by the due date              How do you Process Payments? When you make a payment, you authorize us to initiate an
each month, we will not charge interest on new transactions that post to the purchase balance. If         ACH or electronic payment that will be debited from your bank account or other related
you have been paying in full without Interest Charges, but fail to pay your next New Balance in full,     account. When you provide a check or check information to make a payment, you authorize us
we will charge interest on the unpaid balance. Interest Charges on Cash Advances and Special              to use information from the check to make a one-time ACH or other electronic transfer from
Transfers start on the transaction date. Promotional offers may allow you to pay less than the total      your bank account. We may also process it as a check transaction. Funds may be withdrawn
New Balance and avoid paying interest on new transactions that post to your purchase balance.             from your bank account as soon as the same day we process your payment.
See the front of your statement for additional information.
                                                                                                          How do you Apply My Payment? We generally apply payments up to your Minimum
How is the Interest Charge Determined? Interest Charges accrue from the date of the                       Payment first to the balance with the lowest APR (including 0% APR), and then to balances
transaction, date the transaction is processed or the first day of the Billing Cycle. Interest accrues    with higher APRs. We apply any part of your payment exceeding your Minimum Payment to
daily on every unpaid amount until it is paid in full. Interest accrued during a Billing Cycle posts to   the balance with the highest APR, and then to balances with lower APRs.
your account at the end of the Billing cycle and appears on your next statement. You may owe
Interest Charges even if you pay the entire New Balance one month, but did not do so the prior            Billing Rights Summary (Does not Apply to Small Business Accounts)
month. Once you start accruing Interest Charges, you generally must pay your New Balance in full          What To Do If You Think You Find A Mistake On Your Statement: If you think there is an
two consecutive Billing Cycles before Interest Charges stop being posted to your Statement.               error on your statement, write to us at:
Interest Charges are added to the corresponding segment of your account.                                  P.O. Box 30285, Salt Lake City, UT 84130-0285.

Do you assess a Minimum Interest Charge? We may assess a minimum Interest Charge of                       In your letter, give us the following information:
$0.00 for each Billing Cycle if your account is subject to an Interest Charge.                            • Account information: Your name and account number.
                                                                                                          • Dollar amount: The dollar amount of the suspected error.
How do you Calculate the Interest Charge? We use a method called Average Daily Balance                    • Description of Problem: If you think there is an error on your bill, describe what you believe is
(including new transactions).                                                                             wrong and why you believe it is a mistake. You must contact us within 60 days after the error
                                                                                                          appeared on your statement. You must notify us of any potential errors in writing. You may call
1. First, for each segment we take the beginning balance each day and add in new transactions and         us or notify us electronically, but if you do we are not required to investigate any potential
the periodic Interest Charge on the previous day's balance. Then we subtract any payments and             errors and you may have to pay the amount in question. We will notify you in writing within 30
credits for that segment as of that day. The result is the daily balance for each segment. However, if    days of our receipt of your letter. While we investigate whether or not there has been an error,
your previous statement balance was zero or a credit amount, new transactions which post to your          the following are true:
purchase segment are not added to the daily balance.                                                      • We cannot try to collect the amount in question, or report you as delinquent on that amount.
                                                                                                          The charge in question may remain on your statement, and we may continue to charge you
2. Next, for each segment, we add the daily balances together and divide the sum by the number of         interest on that amount. But, if we determine that we made a mistake, you will not have to pay
days in the Billing Cycle. The result is the Average Daily Balance for each segment.                      the amount in question or any interest or other fees related to that amount.
                                                                                                          • While you do not have to pay the amount in question until we send you a notice about the
3. At the end of each Billing Cycle, we multiply your Average Daily Balance for each segment by           outcome of our investigation, you are responsible for the remainder of your balance.
the daily periodic rate (APR divided by 365) for that segment, and then we multiply the result by the     • We can apply any unpaid amount against your credit limit. Within 90 days of our receipt of
number of days in the Billing Cycle. We add the Interest Charges for all segments together. The           your letter, we will send you a written notice explaining either that we corrected the error (to
result is your total Interest Charge for the Billing Cycle.                                               appear on your next statement) or the reasons we believe the bill is correct.

The Average Daily Balance is referred to as the Balance Subject to Interest Rate in the Interest          Your Rights If You Are Dissatisfied With Your Purchase: If you are dissatisfied with the
Charge Calculation section of this Statement.                                                             goods or services that you have purchased with your credit card, and you have tried in good
                                                                                                          faith to correct the problem with the merchant, you may have the right not to pay the remaining
NOTE: Due to rounding or a minimum Interest Charge, this calculation may vary slightly from the           amount due on the purchase. To use this right, the following must be true:
Interest Charge actually assessed.                                                                        1) You must have used your credit card for the purchase. Purchases made with cash
                                                                                                          advances from an ATM or with a check that accesses your credit card account do not qualify;
                                                                                                          and
                                                                                                          2) You must not yet have fully paid for the purchase.
How can I Avoid Membership Fees? If a Renewal Notice is printed on this statement, you may                If all of the criteria above are met and you are still dissatisfied with the purchase, contact us in
avoid paying an annual membership Fee by contacting Customer Service no later than 45 days                writing at: P.O. Box 30285, Salt Lake City, UT 84130-0285. While we investigate, the same
after the last day in the Billing Cycle covered by this statement to request that we close your           rules apply to the disputed amount as discussed above. After we finish our investigation, we
account. To avoid paying a monthly membership Fee, close your account and we will stop                    will tell you our decision. At that point, if we think you owe an amount and you do not pay we
assessing your monthly membership Fee.                                                                    may report you as delinquent.

How can I Close My Account? You can contact Customer Service anytime to request that we                   © 2020 Capital One. Capital One is a federally registered service mark
close your account.
                                                                                                                                                                                         ETC-08 10/01/2020




                                                                                                          How do I Make Payments? You may make your payment in several ways:
             Pay online at cabelas.capitalone.com
                                                                                                          1.    Online Banking by logging into your account;
                                                                                                          2.    Capital One Mobile Banking app for approved electronic devices;
                                                                                                          3.    Calling the telephone number listed on the front of this statement and providing the
             Pay using the Capital One mobile app                                                               required payment information;
                                                                                                          4.    Sending mail payments to the address on the front of this statement with the
                                                                                                                payment coupon or your account information.

             Customer Service 1-800-850-8402                                                              When will you Credit My Payment?

                                                                                                          ¨     For mobile, online or over the phone, as of the business day we receive it, as long
                                                                                                                as it is made by 8 p.m. ET .
                                                                                                          ¨     For mail, as of the business day we receive it, as long as it is received by 5 p.m.
                      Changing your mailing address?                                                            local time at our processing center. You must send the bottom portion of this
                                                                                                                statement and your check to the payment address on the front of this statement.
        You can change your address by signing into your account online or by calling                           Please allow at least seven (7) business days for mail delivery. Mailed payments
                                   Customer Service.                                                            received by us at any other location or payments in any other form may not be
                                                                                                                credited as of the day we receive them.
                       Any written request on this form will not be honored.
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                                                                                                            Cabela's CLUB card ending in 4904
                                                                                            Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                                                             Transactions
                                        Visit cabelas.capitalone.com to see detailed transactions.

JERRY E BRAZIE #4904: Payments, Credits and Adjustments
Trans Date   Post Date    Description                                                                                                    Amount

Oct 21       Oct 21       CAPITAL ONE ONLINE PYMTAuthDate 20-Oct                                                                    - $1,000.00

Oct 23       Oct 23       CAPITAL ONE ONLINE PYMTAuthDate 22-Oct                                                                    - $2,000.00

Oct 31       Nov 1        CAPITAL ONE ONLINE PYMTAuthDate 30-Oct                                                                    - $1,000.00

Nov 1        Nov 1        CAPITAL ONE ONLINE PYMTAuthDate 01-Nov                                                                    - $2,000.00

Nov 5        Nov 5        CAPITAL ONE ONLINE PYMTAuthDate 05-Nov                                                                    - $1,500.00

Nov 8        Nov 8        CAPITAL ONE ONLINE PYMTAuthDate 08-Nov                                                                    - $3,000.00

Nov 15       Nov 15       CAPITAL ONE ONLINE PYMTAuthDate 15-Nov                                                                      - $500.00


JERRY E BRAZIE #4904: Transactions
Trans Date   Post Date    Description                                                                                                    Amount

Oct 19       Oct 21       THE STARK STREET PIZZAPORTLANDOR                                                                               $67.90

Oct 21       Oct 22       CRAIGSLIST.ORG415-399-5200CA                                                                                   $45.00

Oct 21       Oct 22       CRAIGSLIST.ORG415-399-5200CA                                                                                   $45.00

Oct 21       Oct 22       NYNY AMERICALAS VEGASNV                                                                                        $66.79

Oct 21       Oct 23       GARRETT POPCORN SHOPSLAS VEGASNV                                                                                $7.58

Oct 22       Oct 23       WLV THE COURTLAS VEGASNV                                                                                       $41.18

Oct 22       Oct 23       CENTURY THEATRES 424LAS VEGASNV                                                                                $23.50

Oct 23       Oct 25       WLV THE COURTLAS VEGASNV                                                                                       $41.10

Oct 24       Oct 26       THE MARKETLAS VEGASNV                                                                                           $6.58

Oct 25       Oct 25       UBER TRIP8005928996CA                                                                                          $58.56

Oct 25       Oct 26       UBER TRIP8005928996CA                                                                                           $3.00

Oct 25       Oct 26       UBER TRIP8005928996CA                                                                                           $9.32

Oct 25       Oct 26       UBER* TRIPSAN FRANCISCOCA                                                                                      $22.50

Oct 25       Oct 27       A-1 MINI STORAGE541-962-7200OR                                                                                 $45.00

Oct 27       Oct 29       CHARLEYS PHILLY STEAKSHAPPY VALLEYOR                                                                           $14.98

Oct 28       Oct 28       CRAIGSLIST.ORG415-399-5200CA                                                                                   $45.00

Oct 29       Oct 30       CRAIGSLIST.ORG4153995200CA                                                                                     $45.00

Oct 29       Oct 30       CRAIGSLIST.ORG4153995200CA                                                                                     $25.00

Nov 1        Nov 2        GOOGLE *YouTubePremiumg.co/helppay#CA                                                                          $17.99

Nov 1        Nov 3        EAST VALLEY STORAGEKENTWA                                                                                     $809.00

Nov 1        Nov 3        SNAPBOX SELF STORAGEBENTONVILLEAR                                                                             $333.00

Nov 2        Nov 3        PY *ALL SECURE MINI ST503-9080563OR                                                                           $165.00

Nov 3        Nov 5        ANCHOR STORAGEONTARIOOR                                                                                        $60.00

Nov 4        Nov 5        ODOT DMV2U503-9455400OR                                                                                        $20.00

Nov 4        Nov 6        NWSELF541-689-9230971-236-9505OR                                                                              $315.00

Nov 5        Nov 5        CRAIGSLIST.ORG415-399-5200CA                                                                                   $25.00

                                                  Additional Information on the next page
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                                                                                                            Cabela's CLUB card ending in 4904
                                                                                            Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                                                     Transactions (Continued)
Trans Date     Post Date      Description                                                                                                Amount

Nov 5          Nov 5          CRAIGSLIST.ORG415-399-5200CA                                                                               $45.00

Nov 5          Nov 5          CRAIGSLIST.ORG415-399-5200CA                                                                               $45.00

Nov 5          Nov 5          CRAIGSLIST.ORG415-399-5200CA                                                                               $10.00

Nov 5          Nov 6          U STORE SELF STORAGE KKLAMATH FALLSOR                                                                      $67.00

Nov 5          Nov 6          KAISER PH STERLINGSTERLINGVA                                                                               $11.00

Nov 6          Nov 6          CRAIGSLIST.ORG415-399-5200CA                                                                               $45.00

Nov 7          Nov 8          DEVIL`S LAKE STORAGELINCOLN CITYOR                                                                         $95.00

Nov 8          Nov 8          TST* PARTY FOWL - FRANFRANKLINTN                                                                          $100.52

Nov 8          Nov 9          LEES MINI STORAGEGRANTS PASSOR                                                                             $87.00

Nov 9          Nov 10         CITY OF PORTLAND DEPTPORTLANDOR                                                                             $4.00

Nov 9          Nov 10         USPS PO BOXES ONLINE800-782-6724DC                                                                        $146.00

Nov 11         Nov 11         CRAIGSLIST.ORG415-399-5200CA                                                                               $45.00

Nov 11         Nov 11         CRAIGSLIST.ORG415-399-5200CA                                                                               $45.00

Nov 13         Nov 15         DELTA     00642223485400PORTLANDOR                                                                         $40.00
                              TK#: 00642223485400 PSGR: BRAZIE/GERALDED
                              ORIG: PDX, DEST: PDX, S/O: O, CARRIER: DL, SVC: X

Nov 13         Nov 15         SLC KSL & KINGSSALT LAKE CITUT                                                                              $5.03

JERRY E BRAZIE #4904: Total Transactions                                                                                              $3,148.53


KATHIE S BRAZIE #8944: Payments, Credits and Adjustments
Trans Date     Post Date      Description                                                                                                Amount


KATHIE S BRAZIE #8944: Transactions
Trans Date     Post Date      Description                                                                                                Amount

Oct 20         Oct 21         WAL-MART #1560LAS VEGASNV                                                                                  $25.97

Oct 20         Oct 21         CURB SVC LV WESTERNLAS VEGASNV                                                                             $25.09

Oct 21         Oct 22         CURB SVC LV NEW CABLAS VEGASNV                                                                             $51.48

Oct 21         Oct 23         HERSHEYS CHOCOLATE WORLAS VEGASNV                                                                          $43.24

Oct 21         Oct 23         THE MARKETLAS VEGASNV                                                                                      $12.17

Oct 21         Oct 23         NYNY AMERICALAS VEGASNV                                                                                    $60.83

Oct 22         Oct 22         VEGAS.COM18669983427NV                                                                                    $102.51

Oct 22         Oct 23         CENTURY THEATRES 424LAS VEGASNV                                                                            $14.09

Oct 23         Oct 23         UBER TRIP8005928996CA                                                                                      $31.81

Oct 23         Oct 25         TST* GRIFF'S SPORTS BALAS VEGASNV                                                                          $85.33

Oct 23         Oct 25         UBER TRIP8005928996CA                                                                                       $5.00

Oct 23         Oct 25         UBER TRIP8005928996CA                                                                                      $10.29

Oct 24         Oct 25         UBER TRIP8005928996CA                                                                                      $23.66

Oct 24         Oct 25         UBER TRIP8005928996CA                                                                                       $3.00


                                                  Additional Information on the next page
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                                                                                                       Cabela's CLUB card ending in 4904
                                                                                       Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                                                Transactions (Continued)
Trans Date   Post Date   Description                                                                                                Amount

Oct 24       Oct 25      UBER TRIP8005928996CA                                                                                      $12.58

Oct 24       Oct 25      VEGAS.COM18669983427NV                                                                                    $108.85

Oct 24       Oct 25      UBER TRIP8005928996CA                                                                                      $19.39

Oct 24       Oct 25      UBER TRIP8005928996CA                                                                                      $31.74

Oct 24       Oct 25      UBER TRIP8005928996CA                                                                                      $16.20

Oct 25       Oct 26      EL SOMBRERO 3 INCFRANKLINTN                                                                                $97.56

Oct 25       Oct 27      SPIRIT AI 48702830793320MIRAMARFL                                                                          $41.00
                         TK#: 48702830793320 PSGR: BRAZIE/G
                         ORIG: LAS, DEST: PDX, S/O: O, CARRIER: NK, SVC: Y

Oct 25       Oct 27      EXCALIBUR - FRONT DESK8552755733NV                                                                      $1,654.20

Oct 26       Oct 27      KROGER #592FRANKLINTN                                                                                      $82.78

Oct 26       Oct 28      OLIVE GARDE41700064170FRANKLINTN                                                                           $90.64

Oct 27       Oct 28      KROGER FUEL #9592FRANKLINTN                                                                                $92.01

Oct 27       Oct 28      NASHVILLE ZOO, INC6158331534TN                                                                             $54.00

Oct 27       Oct 28      NASHVILLE ZOO, INC6158331534TN                                                                             $36.00

Oct 27       Oct 28      WAL-MART #0272FRANKLINTN                                                                                  $242.83

Oct 27       Oct 28      WAL-MART #0272FRANKLINTN                                                                                   $30.57

Oct 28       Oct 29      AT HOME STORE #107FRANKLINTN                                                                               $98.72

Oct 29       Oct 30      MID-SOUTH MOWING LLC8887211115TN                                                                          $207.00

Oct 30       Nov 1       KROGER #526FRANKLINTN                                                                                     $133.09

Nov 1        Nov 2       KROGER #526FRANKLINTN                                                                                     $125.04

Nov 2        Nov 3       KROGER #568FRANKLINTN                                                                                      $17.44

Nov 2        Nov 3       PUBLIX #142BRENTWOODTN                                                                                     $16.62

Nov 2        Nov 4       CHEDDARS 0202100021683BRENTWOODTN                                                                          $66.22

Nov 3        Nov 4       LTF*LIFE TIME MO DUES888-430-6432MN                                                                       $337.23

Nov 3        Nov 4       1-800 CONTACTS, INC.8002668228UT                                                                          $218.97

Nov 3        Nov 4       KROGER #592FRANKLINTN                                                                                      $31.61

Nov 3        Nov 4       HAND AND STONE MASSAGEFRANKLINTN                                                                           $69.14

Nov 3        Nov 5       OLIVE GARDE41700064170FRANKLINTN                                                                          $137.53

Nov 4        Nov 5       PANDA EXPRESS #1786FRANKLINTN                                                                              $30.57

Nov 4        Nov 5       PUBLIX #1031FRANKLINTN                                                                                     $36.82

Nov 5        Nov 6       ECONO LODGE3173578236KY                                                                                   $103.14

Nov 5        Nov 6       ARBYS #5506 GOODLETTSVGOODLETTSVILLTN                                                                      $24.76

Nov 5        Nov 6       HAND AND STONE MASSAGEFRANKLINTN                                                                           $52.05

Nov 5        Nov 8       SHELL OIL 910027383QPSFRANKLINTN                                                                          $109.43

Nov 6        Nov 8       Hand and Stone MassageHappy ValleyWA                                                                       $69.95

Nov 6        Nov 8       EL SOMBRERO 3 INCFRANKLINTN                                                                                $71.38



                                             Additional Information on the next page
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                                                                                                                 Cabela's CLUB card ending in 4904
                                                                                                 Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                                                         Transactions (Continued)
Trans Date      Post Date          Description                                                                                                Amount

Nov 6           Nov 8              SHELL OIL 575274609QPSBRENTWOODTN                                                                         $106.00

Nov 6           Nov 8              ECONO LODGE3173578236KY                                                                                     $5.00

Nov 8           Nov 9              KROGER #592FRANKLINTN                                                                                     $108.15

Nov 8           Nov 9              HUNGRY HOWIES 1711FRANKLINTN                                                                               $21.91

Nov 8           Nov 10             OLIVE GARDE41700064170FRANKLINTN                                                                          $118.10

Nov 9           Nov 10             TARGET        00006957FRANKLINTN                                                                           $57.79

Nov 10          Nov 11             SP * LOMA BEAUTYMONROEWA                                                                                   $54.17

Nov 10          Nov 11             EL SOMBRERO 3 INCFRANKLINTN                                                                               $128.31

Nov 11          Nov 13             CHEDDARS 0202100021683BRENTWOODTN                                                                          $69.52

Nov 12          Nov 15             SHELL OIL 12679925003ARRINGTONTN                                                                          $107.68

Nov 13          Nov 15             TEXAS ROADHOUSE #2570MURFREESBOROTN                                                                       $151.28

Nov 13          Nov 15             4457 AMC THOROUGHBREDFRANKLINTN                                                                            $53.80

Nov 14          Nov 15             OLIVE GARDE41700064170FRANKLINTN                                                                           $97.99

Nov 14          Nov 15             9640 AMC ONLINE8884404262KS                                                                                $78.06

Nov 14          Nov 15             KROGER #526FRANKLINTN                                                                                      $62.83

Nov 16          Nov 17             SIAM PAD THAIFRANKLINTN                                                                                    $68.66

KATHIE S BRAZIE #8944: Total Transactions                                                                                                  $6,350.78


Total Transactions for This Period                                                                                                       $9,499.31


                                                                        Fees
Trans Date      Post Date          Description                                                                                                Amount

Total Fees for This Period                                                                                                                    $0.00


                                                                 Interest Charged
Interest Charge on Bass Pro/Cabela's Purchases                                                                                                 $0.00

Interest Charge on Purchases                                                                                                                  $37.27

Interest Charge on Cash Advances                                                                                                               $0.00

Interest Charge on Other Balances                                                                                                              $0.00

Total Interest for This Period                                                                                                               $37.27


                                                               Totals Year-to-Date
Total Fees charged                                                                                                                            $0.00

Total Interest charged                                                                                                                   $1,192.01




                                                       Additional Information on the next page
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                                                                                                                         Cabela's CLUB card ending in 4904
                                                                                                      Oct 21, 2021 - Nov 19, 2021 | 30 days in Billing Cycle


                                                         Interest Charge Calculation
                                        Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                     Annual Percentage Rate (APR)                        Balance Subject to Interest Rate                        Interest Charged

Bass Pro/Cabela's Purch                         9.99%                                                 $0.00                                               $0.00

Purchases                                     15.07% F                                             $3,008.93                                             $37.27

Cash Advances                                 25.07% F                                                $0.00                                               $0.00

Variable APRs: If you have a letter code displayed next to any of the above APRs, this means they are variable APRs. They may increase or decrease based
on one of the following indices (reported in The Wall Street Journal) as described below.

   Code next to your              How do we calculate your APR(s)?                                                               When your APR(s) will change
       APR(s)

            P                            Prime Rate + margin                            The first day of the Billing Cycles that end in Jan., April, July and Oct.
            L                          3 month LIBOR + margin

            D                            Prime Rate + margin                                                                  The first day of each Billing Cycle
            F                          1 month LIBOR + margin
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                                                                                                                                                               Cabela's CLUB card ending in 4904
                                                                                                                                    Nov 20, 2021 - Dec 20, 2021 | 31 days in Billing Cycle


                              Payment Information                                                                                             Account Summary
  Payment Due Date                                  For online and phone payments, the                     Previous Balance                                                                       $7,755.06
                                                    deadline is 8pm ET.
  Jan 14, 2022                                                                                             Payments                                                                              - $3,122.00
  New Balance                                       Minimum Payment Due                                    Other Credits                                                                                $0.00
  $9,882.22                                         $199.00                                                Transactions                                                                         + $5,148.62
  LATE PAYMENT WARNING: If we do not receive your minimum payment                                          Cash Advances                                                                             + $0.00
  by your due date, you may have to pay a late fee of up to $40.00.
                                                                                                           Fees Charged                                                                              + $0.00
  MINIMUM PAYMENT WARNING: If you make only the minimum
  payment each period, you will pay more in interest and it will take you                                  Interest Charged                                                                       + $100.54
  longer to pay off your balance. For example:
                                                                                                           New Balance                                                                          = $9,882.22
   If you make no                   You will pay off  And you will end up paying
   additional charges using         the balance shown an estimated total of...                             Credit Limit                                                                          $10,700.00
   this card and each               on this statement
                                                                                                           Available Credit (as of Dec 20, 2021)                                                     $817.78
   month you pay...                 in about...

   Minimum Payment                  23 Years                 $21,518                                       Cash Advance Credit Limit                                                              $4,280.00

   $343                             3 Years                  $12,346                                       Available Credit for Cash Advances                                                        $817.78

   Estimated savings if balance is paid off in about 3 years: $9,172
                                                                                                         Points Summary as of 12/18/2021                                 Your Current Level: BLACK
                                                                                                         Redeem at Bass Pro Shops & Cabela's                      Spend $25,000.00 each year to maintain
  If you would like information about credit counseling services, call 1-888-326-8055.                        (Points shown in dollars)                             BLACK status. You have $0.00 to go!
                                                                                                         Previous Balance                                                $833.37
                                                                                                         Points earned at Bass Pro Shops and Cabela's                      $0.00           Total Points Balance
                                                                                                         Other Points added (promos & other purchases)                    $50.08                 $883.45
                                                                                                         Points Redeemed                                                   $0.00

                                                                                                                  For up-to-date points balance & program details, visit cabelas.com/myclub




                                                                                 Account Notifications
         Please note that balances described as "Other Purchases and Transfers" in account opening disclosures and other program documents are displayed as the
         "Purchases" balance on this statement.




Pay or manage your account at cabelas.capitalone.com                                          Customer Service: 1-800-850-8402                                     See reverse for Important Information




         JERRY E BRAZIE
         PO BOX 14607
         PORTLAND, OR 97293-0607



   Payment Due Date: Jan 14, 2022                                      Account ending in 4904

    New Balance                        Minimum Payment Due                       Amount Enclosed                       Capital One
                                                                                                                       P.O. Box 60599
    $9,882.22                          $199.00                                  $ ________                             City of Industry CA 91716-0599
   Please send us this portion of your statement and only one check (or one money order) payable to Capital One        TTDDFFTADDATFFFDFFATFDTFTDFTDDTTTATTDFFTADDDDDAAATFTFDTATDFTFFFFD
   to ensure your payment is processed promptly. Allow at least seven business days for delivery.


                                                                                     1 5463256448554904 20 9882221122000199000
                  Case 3:16-cv-02293-HZ                                 Document 100-1                         Filed 03/14/22                   Page 59 of 74
How can I Avoid Paying Interest Charges? If you pay your New Balance in full by the due date              How do you Process Payments? When you make a payment, you authorize us to initiate an
each month, we will not charge interest on new transactions that post to the purchase balance. If         ACH or electronic payment that will be debited from your bank account or other related
you have been paying in full without Interest Charges, but fail to pay your next New Balance in full,     account. When you provide a check or check information to make a payment, you authorize us
we will charge interest on the unpaid balance. Interest Charges on Cash Advances and Special              to use information from the check to make a one-time ACH or other electronic transfer from
Transfers start on the transaction date. Promotional offers may allow you to pay less than the total      your bank account. We may also process it as a check transaction. Funds may be withdrawn
New Balance and avoid paying interest on new transactions that post to your purchase balance.             from your bank account as soon as the same day we process your payment.
See the front of your statement for additional information.
                                                                                                          How do you Apply My Payment? We generally apply payments up to your Minimum
How is the Interest Charge Determined? Interest Charges accrue from the date of the                       Payment first to the balance with the lowest APR (including 0% APR), and then to balances
transaction, date the transaction is processed or the first day of the Billing Cycle. Interest accrues    with higher APRs. We apply any part of your payment exceeding your Minimum Payment to
daily on every unpaid amount until it is paid in full. Interest accrued during a Billing Cycle posts to   the balance with the highest APR, and then to balances with lower APRs.
your account at the end of the Billing cycle and appears on your next statement. You may owe
Interest Charges even if you pay the entire New Balance one month, but did not do so the prior            Billing Rights Summary (Does not Apply to Small Business Accounts)
month. Once you start accruing Interest Charges, you generally must pay your New Balance in full          What To Do If You Think You Find A Mistake On Your Statement: If you think there is an
two consecutive Billing Cycles before Interest Charges stop being posted to your Statement.               error on your statement, write to us at:
Interest Charges are added to the corresponding segment of your account.                                  P.O. Box 30285, Salt Lake City, UT 84130-0285.

Do you assess a Minimum Interest Charge? We may assess a minimum Interest Charge of                       In your letter, give us the following information:
$0.00 for each Billing Cycle if your account is subject to an Interest Charge.                            • Account information: Your name and account number.
                                                                                                          • Dollar amount: The dollar amount of the suspected error.
How do you Calculate the Interest Charge? We use a method called Average Daily Balance                    • Description of Problem: If you think there is an error on your bill, describe what you believe is
(including new transactions).                                                                             wrong and why you believe it is a mistake. You must contact us within 60 days after the error
                                                                                                          appeared on your statement. You must notify us of any potential errors in writing. You may call
1. First, for each segment we take the beginning balance each day and add in new transactions and         us or notify us electronically, but if you do we are not required to investigate any potential
the periodic Interest Charge on the previous day's balance. Then we subtract any payments and             errors and you may have to pay the amount in question. We will notify you in writing within 30
credits for that segment as of that day. The result is the daily balance for each segment. However, if    days of our receipt of your letter. While we investigate whether or not there has been an error,
your previous statement balance was zero or a credit amount, new transactions which post to your          the following are true:
purchase segment are not added to the daily balance.                                                      • We cannot try to collect the amount in question, or report you as delinquent on that amount.
                                                                                                          The charge in question may remain on your statement, and we may continue to charge you
2. Next, for each segment, we add the daily balances together and divide the sum by the number of         interest on that amount. But, if we determine that we made a mistake, you will not have to pay
days in the Billing Cycle. The result is the Average Daily Balance for each segment.                      the amount in question or any interest or other fees related to that amount.
                                                                                                          • While you do not have to pay the amount in question until we send you a notice about the
3. At the end of each Billing Cycle, we multiply your Average Daily Balance for each segment by           outcome of our investigation, you are responsible for the remainder of your balance.
the daily periodic rate (APR divided by 365) for that segment, and then we multiply the result by the     • We can apply any unpaid amount against your credit limit. Within 90 days of our receipt of
number of days in the Billing Cycle. We add the Interest Charges for all segments together. The           your letter, we will send you a written notice explaining either that we corrected the error (to
result is your total Interest Charge for the Billing Cycle.                                               appear on your next statement) or the reasons we believe the bill is correct.

The Average Daily Balance is referred to as the Balance Subject to Interest Rate in the Interest          Your Rights If You Are Dissatisfied With Your Purchase: If you are dissatisfied with the
Charge Calculation section of this Statement.                                                             goods or services that you have purchased with your credit card, and you have tried in good
                                                                                                          faith to correct the problem with the merchant, you may have the right not to pay the remaining
NOTE: Due to rounding or a minimum Interest Charge, this calculation may vary slightly from the           amount due on the purchase. To use this right, the following must be true:
Interest Charge actually assessed.                                                                        1) You must have used your credit card for the purchase. Purchases made with cash
                                                                                                          advances from an ATM or with a check that accesses your credit card account do not qualify;
                                                                                                          and
                                                                                                          2) You must not yet have fully paid for the purchase.
How can I Avoid Membership Fees? If a Renewal Notice is printed on this statement, you may                If all of the criteria above are met and you are still dissatisfied with the purchase, contact us in
avoid paying an annual membership Fee by contacting Customer Service no later than 45 days                writing at: P.O. Box 30285, Salt Lake City, UT 84130-0285. While we investigate, the same
after the last day in the Billing Cycle covered by this statement to request that we close your           rules apply to the disputed amount as discussed above. After we finish our investigation, we
account. To avoid paying a monthly membership Fee, close your account and we will stop                    will tell you our decision. At that point, if we think you owe an amount and you do not pay we
assessing your monthly membership Fee.                                                                    may report you as delinquent.

How can I Close My Account? You can contact Customer Service anytime to request that we                   © 2020 Capital One. Capital One is a federally registered service mark
close your account.
                                                                                                                                                                                         ETC-08 10/01/2020




                                                                                                          How do I Make Payments? You may make your payment in several ways:
             Pay online at cabelas.capitalone.com
                                                                                                          1.    Online Banking by logging into your account;
                                                                                                          2.    Capital One Mobile Banking app for approved electronic devices;
                                                                                                          3.    Calling the telephone number listed on the front of this statement and providing the
             Pay using the Capital One mobile app                                                               required payment information;
                                                                                                          4.    Sending mail payments to the address on the front of this statement with the
                                                                                                                payment coupon or your account information.

             Customer Service 1-800-850-8402                                                              When will you Credit My Payment?

                                                                                                          ¨     For mobile, online or over the phone, as of the business day we receive it, as long
                                                                                                                as it is made by 8 p.m. ET .
                                                                                                          ¨     For mail, as of the business day we receive it, as long as it is received by 5 p.m.
                      Changing your mailing address?                                                            local time at our processing center. You must send the bottom portion of this
                                                                                                                statement and your check to the payment address on the front of this statement.
        You can change your address by signing into your account online or by calling                           Please allow at least seven (7) business days for mail delivery. Mailed payments
                                   Customer Service.                                                            received by us at any other location or payments in any other form may not be
                                                                                                                credited as of the day we receive them.
                       Any written request on this form will not be honored.
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                                                                                                                Cabela's CLUB card ending in 4904
                                                                                                Nov 20, 2021 - Dec 20, 2021 | 31 days in Billing Cycle


                                                                 Transactions
                                            Visit cabelas.capitalone.com to see detailed transactions.

JERRY E BRAZIE #4904: Payments, Credits and Adjustments
Trans Date     Post Date      Description                                                                                                    Amount

Dec 1          Dec 1          CAPITAL ONE ONLINE PYMTAuthDate 01-Dec                                                                     - $2,000.00

Dec 8          Dec 8          CAPITAL ONE ONLINE PYMTAuthDate 08-Dec                                                                     - $1,122.00


JERRY E BRAZIE #4904: Transactions
Trans Date     Post Date      Description                                                                                                    Amount

Nov 19         Nov 20         GOOGLE *Fox Newsg.co/helppay#CA                                                                                 $5.99

Nov 20         Nov 22         MCDONALD'S F13418FRANKLINTN                                                                                    $21.53

Nov 20         Nov 22         TOUCHTUNES.HELPSHIFT.CTOUCHTUNES.CONY                                                                          $24.00

Nov 21         Nov 22         MJS POOL HALLMURFREESBOROTN                                                                                   $134.32

Nov 23         Nov 23         CRAIGSLIST.ORG415-399-5200CA                                                                                   $45.00

Nov 23         Nov 23         CRAIGSLIST.ORG415-399-5200CA                                                                                   $45.00

Nov 23         Nov 23         CRAIGSLIST.ORG415-399-5200CA                                                                                   $25.00

Nov 23         Nov 23         TST* CORNER PUB - COOLFRANKLINTN                                                                               $74.01

Nov 24         Nov 26         A-1 MINI STORAGE541-962-7200OR                                                                                 $45.00

Nov 26         Nov 29         TACO BELL #004189FRANKLINTN                                                                                    $21.21

Nov 29         Nov 29         TST* PARTY FOWL - FRANFRANKLINTN                                                                               $90.85

Dec 1          Dec 2          GOOGLE *YouTubePremiumg.co/helppay#CA                                                                          $17.99

Dec 1          Dec 3          EAST VALLEY STORAGEKENTWA                                                                                     $809.00

Dec 1          Dec 3          SNAPBOX SELF STORAGEBENTONVILLEAR                                                                             $333.00

Dec 3          Dec 4          PY *ALL SECURE MINI ST503-9080563OR                                                                           $165.00

Dec 3          Dec 6          ANCHOR STORAGEONTARIOOR                                                                                        $60.00

Dec 3          Dec 6          NWSELF541-689-9230971-236-9505OR                                                                              $315.00

Dec 6          Dec 7          U STORE SELF STORAGE KKLAMATH FALLSOR                                                                          $67.00

Dec 6          Dec 7          LEES MINI STORAGEGRANTS PASSOR                                                                                 $87.00

Dec 7          Dec 8          DEVIL`S LAKE STORAGELINCOLN CITYOR                                                                             $95.00

Dec 11         Dec 13         HUDSON ST 1476SEATACWA                                                                                          $8.84

Dec 16         Dec 18         TACO BELL #004189FRANKLINTN                                                                                    $23.42

Dec 19         Dec 20         GOOGLE *Fox Newsg.co/helppay#CA                                                                                 $5.99

Dec 19         Dec 20         CHARLEYS PHILLY STEAKSFRANKLINTN                                                                               $14.26

JERRY E BRAZIE #4904: Total Transactions                                                                                                  $2,533.41




                                                      Additional Information on the next page
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                                                                                                            Cabela's CLUB card ending in 4904
                                                                                            Nov 20, 2021 - Dec 20, 2021 | 31 days in Billing Cycle


                                                    Transactions (Continued)
KATHIE S BRAZIE #8944: Payments, Credits and Adjustments
Trans Date     Post Date      Description                                                                                                Amount

KATHIE S BRAZIE #8944: Transactions
Trans Date     Post Date      Description                                                                                                Amount

Nov 21         Nov 23         SHELL OIL 10014467004MURFREESBOROTN                                                                       $102.65

Nov 24         Nov 26         KROGER #526FRANKLINTN                                                                                      $57.74

Nov 24         Nov 26         TARGET        00006957FRANKLINTN                                                                           $31.14

Nov 24         Nov 26         CHEDDAR'S 0202168BRENTWOODTN                                                                              $144.86

Nov 26         Nov 27         SP * AIDEN & OAKSTAPLESMN                                                                                 $105.97

Nov 26         Nov 27         CRACKER BARREL #26 NASNASHVILLETN                                                                          $59.28

Nov 27         Nov 27         DIME BEAUTY CO8019968274UT                                                                                $292.70

Nov 27         Nov 29         L'ANGE HAIR, INC.8184462003CA                                                                              $53.73

Nov 27         Nov 29         WM SUPERCENTER #272FRANKLINTN                                                                              $77.77

Nov 27         Nov 29         HUNGRY HOWIES 1711FRANKLINTN                                                                               $40.54

Nov 28         Nov 30         MID-SOUTH MOWING LLC8887211115TN                                                                          $124.20

Nov 29         Dec 1          SHELL OIL 12610798006FRANKLINTN                                                                           $108.78

Dec 2          Dec 3          USPS PO 4733240064FRANKLINTN                                                                                $9.25

Dec 3          Dec 4          LTF*LIFE TIME MO DUES888-430-6432MN                                                                       $337.23

Dec 3          Dec 4          MCDONALD'S F20810FRANKLINTN                                                                                $23.21

Dec 3          Dec 6          DESTINATION XL 9886FRANKLINTN                                                                              $67.30

Dec 5          Dec 7          SUPER BURRITO EXPRESSPORTLANDOR                                                                            $23.17

Dec 6          Dec 6          Hand and Stone MassageHappy ValleyWA                                                                       $69.95

Dec 8          Dec 9          SALON SOCIALFRANKLINTN                                                                                     $42.00

Dec 8          Dec 10         SHELL OIL 12610798006FRANKLINTN                                                                           $108.69

Dec 10         Dec 11         TARGET        00006957FRANKLINTN                                                                          $105.03

Dec 11         Dec 13         HUNGRY HOWIES 1711FRANKLINTN                                                                               $35.07

Dec 13         Dec 14         SQ *SOUTHERN BOUTIQUESBrentwoodTN                                                                          $83.38

Dec 13         Dec 14         NikePOS_USBrentwoodTN                                                                                     $120.70

Dec 13         Dec 14         MILCROFTON PAYMENTS8002401420TN                                                                           $104.88

Dec 13         Dec 14         PUBLIX #1031FRANKLINTN                                                                                     $88.95

Dec 14         Dec 15         SUN TAN CITY #095FRANKLINTN                                                                                $87.29

Dec 17         Dec 20         SHELL OIL 910026894QPSFRANKLINTN                                                                          $109.75

KATHIE S BRAZIE #8944: Total Transactions                                                                                             $2,615.21


Total Transactions for This Period                                                                                                  $5,148.62




                                                  Additional Information on the next page
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                                                                                                                           Cabela's CLUB card ending in 4904
                                                                                                       Nov 20, 2021 - Dec 20, 2021 | 31 days in Billing Cycle


                                                             Transactions (Continued)
                                                                              Fees
Trans Date        Post Date        Description                                                                                                            Amount

Total Fees for This Period                                                                                                                                 $0.00


                                                                      Interest Charged
Interest Charge on Bass Pro/Cabela's Purchases                                                                                                              $0.00

Interest Charge on Purchases                                                                                                                             $100.54

Interest Charge on Cash Advances                                                                                                                            $0.00

Interest Charge on Other Balances                                                                                                                           $0.00

Total Interest for This Period                                                                                                                          $100.54


                                                                    Totals Year-to-Date
Total Fees charged                                                                                                                                         $0.00

Total Interest charged                                                                                                                               $1,292.55



                                                           Interest Charge Calculation
                                          Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                       Annual Percentage Rate (APR)                        Balance Subject to Interest Rate                        Interest Charged

Bass Pro/Cabela's Purch                           9.99%                                                 $0.00                                               $0.00

Purchases                                        15.08% F                                            $7,848.99                                           $100.54

Cash Advances                                    25.08% F                                               $0.00                                               $0.00

Variable APRs: If you have a letter code displayed next to any of the above APRs, this means they are variable APRs. They may increase or decrease based
on one of the following indices (reported in The Wall Street Journal) as described below.

   Code next to your                How do we calculate your APR(s)?                                                               When your APR(s) will change
       APR(s)

             P                             Prime Rate + margin                            The first day of the Billing Cycles that end in Jan., April, July and Oct.
             L                           3 month LIBOR + margin

             D                             Prime Rate + margin                                                                  The first day of each Billing Cycle
             F                           1 month LIBOR + margin
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                                                                                                                                                               Cabela's CLUB card ending in 4904
                                                                                                                                     Dec 21, 2021 - Jan 20, 2022 | 31 days in Billing Cycle


                              Payment Information                                                                                             Account Summary
  Payment Due Date                                  For online and phone payments, the                     Previous Balance                                                                       $9,882.22
                                                    deadline is 8pm ET.
  Feb 14, 2022                                                                                             Payments                                                                                - $200.00
  New Balance                                       Minimum Payment Due                                    Other Credits                                                                                $0.00
  $10,760.45                                        $244.00                                                Transactions                                                                           + $911.91
  LATE PAYMENT WARNING: If we do not receive your minimum payment                                          Cash Advances                                                                             + $0.00
  by your due date, you may have to pay a late fee of up to $40.00.
                                                                                                           Fees Charged                                                                             + $29.00
  MINIMUM PAYMENT WARNING: If you make only the minimum
  payment each period, you will pay more in interest and it will take you                                  Interest Charged                                                                       + $137.32
  longer to pay off your balance. For example:
                                                                                                           New Balance                                                                        = $10,760.45
   If you make no                   You will pay off  And you will end up paying
   additional charges using         the balance shown an estimated total of...                             Credit Limit                                                                          $10,700.00
   this card and each               on this statement
                                                                                                           Available Credit (as of Jan 20, 2022)                                                        $0.00
   month you pay...                 in about...

   Minimum Payment                  24 Years                 $23,480                                       Cash Advance Credit Limit                                                              $4,280.00

   $373                             3 Years                  $13,446                                       Available Credit for Cash Advances                                                           $0.00

   Estimated savings if balance is paid off in about 3 years: $10,034
                                                                                                         Points Summary as of 01/19/2022                                 Your Current Level: BLACK
                                                                                                         Redeem at Bass Pro Shops & Cabela's                     Spend $25,000.00 each year to maintain
  If you would like information about credit counseling services, call 1-888-326-8055.                        (Points shown in dollars)                         BLACK status. You have $24,088.09 to go!
                                                                                                         Previous Balance                                                $883.45
                                                                                                         Points earned at Bass Pro Shops and Cabela's                      $0.00           Total Points Balance
                                                                                                         Other Points added (promos & other purchases)                    $10.39                 $893.84
                                                                                                         Points Redeemed                                                   $0.00

                                                                                                                  For up-to-date points balance & program details, visit cabelas.com/myclub




                                                                                 Account Notifications
                                               Please check page 3 of this statement for your Account Notifications.



Pay or manage your account at cabelas.capitalone.com                                          Customer Service: 1-800-850-8402                                     See reverse for Important Information




         JERRY E BRAZIE
         PO BOX 14607
         PORTLAND, OR 97293-0607



   Payment Due Date: Feb 14, 2022                                      Account ending in 4904

    New Balance                        Minimum Payment Due                       Amount Enclosed                       Capital One
                                                                                                                       P.O. Box 60599
    $10,760.45                         $244.00                                  $ ________                             City of Industry CA 91716-0599
   Please send us this portion of your statement and only one check (or one money order) payable to Capital One        TTDDFFTADDATFFFDFFATFDTFTDFTDDTTTATTDFFTADDDDDAAATFTFDTATDFTFFFFD
   to ensure your payment is processed promptly. Allow at least seven business days for delivery.


                                                                                     1 5463256448554904 20 0000000200000244004
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How can I Avoid Paying Interest Charges? If you pay your New Balance in full by the due date              How do you Process Payments? When you make a payment, you authorize us to initiate an
each month, we will not charge interest on new transactions that post to the purchase balance. If         ACH or electronic payment that will be debited from your bank account or other related
you have been paying in full without Interest Charges, but fail to pay your next New Balance in full,     account. When you provide a check or check information to make a payment, you authorize us
we will charge interest on the unpaid balance. Interest Charges on Cash Advances and Special              to use information from the check to make a one-time ACH or other electronic transfer from
Transfers start on the transaction date. Promotional offers may allow you to pay less than the total      your bank account. We may also process it as a check transaction. Funds may be withdrawn
New Balance and avoid paying interest on new transactions that post to your purchase balance.             from your bank account as soon as the same day we process your payment.
See the front of your statement for additional information.
                                                                                                          How do you Apply My Payment? We generally apply payments up to your Minimum
How is the Interest Charge Determined? Interest Charges accrue from the date of the                       Payment first to the balance with the lowest APR (including 0% APR), and then to balances
transaction, date the transaction is processed or the first day of the Billing Cycle. Interest accrues    with higher APRs. We apply any part of your payment exceeding your Minimum Payment to
daily on every unpaid amount until it is paid in full. Interest accrued during a Billing Cycle posts to   the balance with the highest APR, and then to balances with lower APRs.
your account at the end of the Billing cycle and appears on your next statement. You may owe
Interest Charges even if you pay the entire New Balance one month, but did not do so the prior            Billing Rights Summary (Does not Apply to Small Business Accounts)
month. Once you start accruing Interest Charges, you generally must pay your New Balance in full          What To Do If You Think You Find A Mistake On Your Statement: If you think there is an
two consecutive Billing Cycles before Interest Charges stop being posted to your Statement.               error on your statement, write to us at:
Interest Charges are added to the corresponding segment of your account.                                  P.O. Box 30285, Salt Lake City, UT 84130-0285.

Do you assess a Minimum Interest Charge? We may assess a minimum Interest Charge of                       In your letter, give us the following information:
$0.00 for each Billing Cycle if your account is subject to an Interest Charge.                            • Account information: Your name and account number.
                                                                                                          • Dollar amount: The dollar amount of the suspected error.
How do you Calculate the Interest Charge? We use a method called Average Daily Balance                    • Description of Problem: If you think there is an error on your bill, describe what you believe is
(including new transactions).                                                                             wrong and why you believe it is a mistake. You must contact us within 60 days after the error
                                                                                                          appeared on your statement. You must notify us of any potential errors in writing. You may call
1. First, for each segment we take the beginning balance each day and add in new transactions and         us or notify us electronically, but if you do we are not required to investigate any potential
the periodic Interest Charge on the previous day's balance. Then we subtract any payments and             errors and you may have to pay the amount in question. We will notify you in writing within 30
credits for that segment as of that day. The result is the daily balance for each segment. However, if    days of our receipt of your letter. While we investigate whether or not there has been an error,
your previous statement balance was zero or a credit amount, new transactions which post to your          the following are true:
purchase segment are not added to the daily balance.                                                      • We cannot try to collect the amount in question, or report you as delinquent on that amount.
                                                                                                          The charge in question may remain on your statement, and we may continue to charge you
2. Next, for each segment, we add the daily balances together and divide the sum by the number of         interest on that amount. But, if we determine that we made a mistake, you will not have to pay
days in the Billing Cycle. The result is the Average Daily Balance for each segment.                      the amount in question or any interest or other fees related to that amount.
                                                                                                          • While you do not have to pay the amount in question until we send you a notice about the
3. At the end of each Billing Cycle, we multiply your Average Daily Balance for each segment by           outcome of our investigation, you are responsible for the remainder of your balance.
the daily periodic rate (APR divided by 365) for that segment, and then we multiply the result by the     • We can apply any unpaid amount against your credit limit. Within 90 days of our receipt of
number of days in the Billing Cycle. We add the Interest Charges for all segments together. The           your letter, we will send you a written notice explaining either that we corrected the error (to
result is your total Interest Charge for the Billing Cycle.                                               appear on your next statement) or the reasons we believe the bill is correct.

The Average Daily Balance is referred to as the Balance Subject to Interest Rate in the Interest          Your Rights If You Are Dissatisfied With Your Purchase: If you are dissatisfied with the
Charge Calculation section of this Statement.                                                             goods or services that you have purchased with your credit card, and you have tried in good
                                                                                                          faith to correct the problem with the merchant, you may have the right not to pay the remaining
NOTE: Due to rounding or a minimum Interest Charge, this calculation may vary slightly from the           amount due on the purchase. To use this right, the following must be true:
Interest Charge actually assessed.                                                                        1) You must have used your credit card for the purchase. Purchases made with cash
                                                                                                          advances from an ATM or with a check that accesses your credit card account do not qualify;
                                                                                                          and
                                                                                                          2) You must not yet have fully paid for the purchase.
How can I Avoid Membership Fees? If a Renewal Notice is printed on this statement, you may                If all of the criteria above are met and you are still dissatisfied with the purchase, contact us in
avoid paying an annual membership Fee by contacting Customer Service no later than 45 days                writing at: P.O. Box 30285, Salt Lake City, UT 84130-0285. While we investigate, the same
after the last day in the Billing Cycle covered by this statement to request that we close your           rules apply to the disputed amount as discussed above. After we finish our investigation, we
account. To avoid paying a monthly membership Fee, close your account and we will stop                    will tell you our decision. At that point, if we think you owe an amount and you do not pay we
assessing your monthly membership Fee.                                                                    may report you as delinquent.

How can I Close My Account? You can contact Customer Service anytime to request that we                   © 2020 Capital One. Capital One is a federally registered service mark
close your account.
                                                                                                                                                                                         ETC-08 10/01/2020




                                                                                                          How do I Make Payments? You may make your payment in several ways:
             Pay online at cabelas.capitalone.com
                                                                                                          1.    Online Banking by logging into your account;
                                                                                                          2.    Capital One Mobile Banking app for approved electronic devices;
                                                                                                          3.    Calling the telephone number listed on the front of this statement and providing the
             Pay using the Capital One mobile app                                                               required payment information;
                                                                                                          4.    Sending mail payments to the address on the front of this statement with the
                                                                                                                payment coupon or your account information.

             Customer Service 1-800-850-8402                                                              When will you Credit My Payment?

                                                                                                          ¨     For mobile, online or over the phone, as of the business day we receive it, as long
                                                                                                                as it is made by 8 p.m. ET .
                                                                                                          ¨     For mail, as of the business day we receive it, as long as it is received by 5 p.m.
                      Changing your mailing address?                                                            local time at our processing center. You must send the bottom portion of this
                                                                                                                statement and your check to the payment address on the front of this statement.
        You can change your address by signing into your account online or by calling                           Please allow at least seven (7) business days for mail delivery. Mailed payments
                                   Customer Service.                                                            received by us at any other location or payments in any other form may not be
                                                                                                                credited as of the day we receive them.
                       Any written request on this form will not be honored.
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                                                                                                                Cabela's CLUB card ending in 4904
                                                                                                Dec 21, 2021 - Jan 20, 2022 | 31 days in Billing Cycle


                                                                 Transactions
                                            Visit cabelas.capitalone.com to see detailed transactions.

JERRY E BRAZIE #4904: Payments, Credits and Adjustments
Trans Date     Post Date      Description                                                                                                    Amount

Jan 18         Jan 18         CAPITAL ONE ONLINE PYMTAuthDate 18-Jan                                                                      - $200.00


JERRY E BRAZIE #4904: Transactions
Trans Date     Post Date      Description                                                                                                    Amount

Dec 19         Dec 21         ZAXBY'S #69702FRANKLINTN                                                                                       $31.89

Dec 20         Dec 21         SONIC DRIVE IN #3453FRANKLINTN                                                                                 $32.72

Dec 21         Dec 22         EL SOMBRERO 3 INCFRANKLINTN                                                                                    $79.28

Dec 23         Dec 27         0097-OLD CHICAGOFRANKLINTN                                                                                    $134.42

Dec 24         Dec 27         KNICK NASHFRANKLINTN                                                                                           $84.49

Dec 24         Dec 27         WALGREENS #4903FRANKLINTN                                                                                       $3.06

Dec 24         Dec 27         AMY'S HALLMARK #685FRANKLINTN                                                                                  $22.59

Dec 24         Dec 27         OLIVE GARDE41700064170FRANKLINTN                                                                              $297.29

Dec 24         Dec 27         BATH AND BODY WORKS 39FRANKLINTN                                                                               $18.11

Dec 24         Dec 27         A-1 MINI STORAGE541-962-7200OR                                                                                 $45.00

Jan 1          Jan 3          GOOGLE *YouTubePremiumg.co/helppay#CA                                                                          $17.99

Jan 2          Jan 3          Amazon web servicesaws.amazon.coWA                                                                              $1.95

Jan 5          Jan 7          SHELL OIL 12750715000ARRINGTONTN                                                                              $113.13

Jan 6          Jan 7          GOOGLE *AllTrails comg.co/helppay#CA                                                                           $29.99

JERRY E BRAZIE #4904: Total Transactions                                                                                                    $911.91


KATHIE S BRAZIE #8944: Payments, Credits and Adjustments
Trans Date     Post Date      Description                                                                                                    Amount


KATHIE S BRAZIE #8944: Transactions
Trans Date     Post Date      Description                                                                                                    Amount


Total Transactions for This Period                                                                                                        $911.91


                                                                       Fees
Trans Date     Post Date      Description                                                                                                    Amount

Jan 14         Jan 14         PAST DUE FEE                                                                                                   $29.00

Total Fees for This Period                                                                                                                  $29.00




                                                      Additional Information on the next page
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                                                                                                                          Cabela's CLUB card ending in 4904
                                                                                                       Dec 21, 2021 - Jan 20, 2022 | 31 days in Billing Cycle


                                                            Transactions (Continued)
                                                                     Interest Charged
Interest Charge on Bass Pro/Cabela's Purchases                                                                                                             $0.00

Interest Charge on Purchases                                                                                                                            $137.32

Interest Charge on Cash Advances                                                                                                                           $0.00

Interest Charge on Other Balances                                                                                                                          $0.00

Total Interest for This Period                                                                                                                         $137.32


                                                                   Totals Year-to-Date
Total Fees charged                                                                                                                                      $29.00

Total Interest charged                                                                                                                                 $137.32



                                                          Interest Charge Calculation
                                         Your Annual Percentage Rate (APR) is the annual interest rate on your account.
Type of Balance                      Annual Percentage Rate (APR)                        Balance Subject to Interest Rate                        Interest Charged

Bass Pro/Cabela's Purch                           9.99%                                                $0.00                                               $0.00

Purchases                                        15.09% F                                           $10,715.57                                          $137.32

Cash Advances                                    25.09% F                                              $0.00                                               $0.00

Variable APRs: If you have a letter code displayed next to any of the above APRs, this means they are variable APRs. They may increase or decrease based
on one of the following indices (reported in The Wall Street Journal) as described below.

   Code next to your                How do we calculate your APR(s)?                                                              When your APR(s) will change
       APR(s)

            P                             Prime Rate + margin                            The first day of the Billing Cycles that end in Jan., April, July and Oct.
            L                           3 month LIBOR + margin

            D                             Prime Rate + margin                                                                  The first day of each Billing Cycle
            F                           1 month LIBOR + margin



                                                               Account Notifications
     Please note that balances described as "Other Purchases and Transfers" in account opening disclosures and other program documents are displayed as
     the "Purchases" balance on this statement.

     You were assessed a past due fee because your minimum payment was not received by the due date. To avoid this fee in the future, we recommend
     that you allow at least 7 business days for your minimum payment to reach Capital One.

     Your account has gone over its credit limit. In addition to your required minimum payment, please pay enough to bring your account balance below
     your credit limit to avoid the possibility of being declined.
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        Exhibit 10
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 Debtor 1      Gerald Edward Brazie, Jr                                                                    Case number (if known)   22-30180-dwh11


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                              Wages, commissions,                      $231,505.53 **         Wages, commissions,    **These include gross
 (January 1 to December 31, 2021 )                 bonuses, tips                                                   bonuses, tips             amounts paid to
                                                                                                                      Operating a business
                                                                                                                                             debtor whether in the
                                                       Operating a business
                                                                                                                                             form of distributions
                                                                                                                                             or draws and
                                                                                                  $5,500.00           Wages, commissions,
                                                      Wages, commissions,
                                                                                                                   bonuses, tips
                                                                                                                                             amounts paid to third
                                                   bonuses, tips
                                                                                                                                             parties on the
                                                       Operating a business                                           Operating a business   debtor’s behalf.
                                                                                                                                             Figures are subject to
 For the calendar year before that:                   Wages, commissions,                      $290,227.21 **         Wages, commissions,    final accounting and
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips             review for tax
                                                       Operating a business                                           Operating a business   purposes. Debtor also
                                                                                                                                             had income and
                                                      Wages, commissions,                       $89,913.28            Wages, commissions,    losses attributable on
                                                   bonuses, tips                                                   bonuses, tips             a tax basis that have
                                                                                                                      Operating a business
                                                                                                                                             yet to be fixed for tax
                                                       Operating a business
                                                                                                                                             purposes.

5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Rental Income                                               $4,950.00
 the date you filed for bankruptcy:

 For last calendar year:                           Rental Income                                $64,350.00
 (January 1 to December 31, 2021 )

 For the calendar year before that:                Rental Income                                  $9,900.00
 (January 1 to December 31, 2020 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.



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 Debtor 1      Gerald Edward Brazie, Jr                                                                    Case number (if known)   22-30180-dwh11



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Select Portfolio Servicing                                11/2/21 - $3,515;            $10,545.00          $315,635.00         Mortgage
       PO Box 65250                                              12/3/21 - $3,515;                                                    Car
       Salt Lake City, UT 84165                                  1/3/22 - $3,515
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Elite Properties                                          Last 90 days -               $13,650.00                  $0.00       Mortgage
                                                                 monthly payments                                                     Car
                                                                 of $4,550                                                            Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Monthly rental in
                                                                                                                                    TN


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name




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        Exhibit 11
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